       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08      Page 1 of 65




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                            No. CR 07-0388 JB

SYGENSTZ MOREAU,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion to Dismiss Indictment

Without Prejudice on the Basis that the Current United States Attorney has been Unconstitutionally

Appointed, filed February 7, 2008 (Doc. 167)(“Motion”). The Court held a hearing on March 5,

2008. The primary issues are: (i) whether the Court should reach the constitutional issues that

Defendant Sygenstz Moreau raises, or dismiss the indictment against Moreau, given that the

indictment was secured during the tenure of a prior, executive-appointed United States Attorney,

was signed by an Assistant United States Attorney for the United States Attorney, before

presentment to the grand jury, and was initialed by another Assistant United States Attorney after

the grand-jury returned the indictment; (ii) whether the judicial appointment of Gregory Fouratt

under 28 U.S.C. § 541(d) violates the Appointments Clause of the United States Constitution; (iii)

whether the judicial appointment of Mr. Fouratt under 28 U.S.C. § 541(d) violates the separation-of-

powers doctrine; and (iv) whether the judicial appointment of Mr. Fouratt under 28 U.S.C. § 541(d)

is unconstitutional as applied to this case. Because the indictment is valid, regardless how the Court

decides the constitutional issues, the Court will deny Moreau’s request that the Court dismiss the
       Case 1:07-cr-00388-JB         Document 219        Filed 04/03/08     Page 2 of 65




indictment. Because the Court concludes that it should address Moreau’s constitutional arguments,

the Court finds that § 541(d) is not unconstitutional under the arguments that Moreau raises, and

because the Court finds that Mr. Fouratt’s judicial appointment is constitutional, under Moreau’s

facial challenges to 28 U.S.C. § 541(d), pursuant to the Appointments Clause and the separation-of-

powers doctrine, the Court will deny Moreau’s motion.

                                 FACTUAL BACKGROUND

       Former United States Attorney David C. Iglesias resigned his position effective February 28,

2007. See United States’ Response to Motion to Dismiss Indictment on the Basis that the Current

United States Attorney Has Been Unconstitutionally Appointed at 5, filed February 21, 2008 (Doc.

176)(“Response”). In the immediate wake of Iglesias’ resignation, First Assistant United States

Attorney Larry Gomez became Acting United States Attorney under the Vacancies Reform Act, 5

U.S.C. § 3345(a)(1). See Response at 5. On September 26, 2007, Acting Attorney General Peter

Keisler appointed Mr. Gomez as United States Attorney pursuant to 28 U.S.C. § 546(a). See

Response at 5.

                              PROCEDURAL BACKGROUND

       Moreau was indicted before Mr. Fouratt was judicially appointed. See Indictment, filed

February 28, 2008 (Doc. 16)(Court Only)(“Indictment”). The indictment was secured under Mr.

Iglesias’ tenure, and Assistant United States Attorney Kyle T. Nayback signed the indictment for

Mr. Iglesias. After the grand jury returned to the indictment, Assistant United States Attorney Jim

Tierney initialed the indictment. See Indictment at 2. The question is whether Mr. Fouratt should

be allowed to participate in the prosecution of this case given the way that he secured his current

position.



                                                -2-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 3 of 65




       1.      The Background of Moreau’s Case.

       As the changes in the United States Attorney’s Office have occurred, the Assistant United

States Attorneys have continued to carry out their duties, including presenting cases to the grand

jury. On February 28, 2007, during Mr. Gomez’ term as United States Attorney, a grand jury

returned the indictment against Moreau. See Indictment. An Assistant United States Attorney, Kyle

T. Nayback, whom the Attorney General duly appointed to his position, signed the indictment for

Mr. Iglesias when the indictment was submitted to the grand jury, and Mr. Tierney initialed the final

form of the indictment. See id. at 2; Transcript of Hearing (taken March 5, 2008) at 17:10-19

(Court & Federici).1

       2.      Mr. Fouratt’s Appointment as United States Attorney.

       By law, Mr. Gomez’ appointment as United States Attorney expired after 120 days. See 28

U.S.C. § 546(c)(2). On January 25, 2008, a majority of the Article III judges of the United States

District Court for the District of New Mexico, acting sua sponte, exercised the Court’s authority

under 28 U.S.C. § 546(d) and appointed Mr. Fouratt as the United States Attorney for the District

of New Mexico.           See Administrative Order (dated January 25, 2008), available at

http://www.nmcourt.fed.us/web/DCDOCS/dcindex.html. One active judge abstained from the

discretionary appointment, and one active judge dissented from the Court’s exercise of its power to

appoint. See id. at 1.

       3.      Motion to Dismiss.

       On January 30, 2008, Moreau filed a motion to dismiss his indictment without prejudice

premised on Mr. Fouratt’s appointment. See Motion at 1. Moreau requests that the Court dismiss


       1
         The Court’s citations to the transcript of the hearing refer to the Court Reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.

                                                 -3-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08      Page 4 of 65




the indictment on the basis that a United States Attorney, who has been unconstitutionally appointed,

is pursuing the prosecution. See Motion at 1. Moreau argues that the Court’s recent appointment

of Mr. Fouratt under 28 U.S.C. § 546(d) as the United States Attorney for the District of New

Mexico is unconstitutional. See id.

       Specifically, Moreau contends that Mr. Fouratt’s appointment offends the Appointments

Clause of the Constitution, Art. II, § 2, cl. 2. See Motion at 1-12. Moreau also contends that the

appointment facially violates the constitutional principle of separation of powers, see id. at 15-17.

As part of his motion, however, Moreau does not argue that the return of the indictment was in any

way invalid.

       Moreau argues that Mr. Fouratt is a “principal” officer under the United States Constitution.

Id. at 12. He argues that Mr. Fouratt’s appointment thus violates the Appointments Clause. See id.

Moreau also contends that the district-court appointment of Mr. Fouratt is incongruous with the

constitutional function of the judiciary. See id. at 12-15. Moreau argues that, because Mr. Fouratt

has important decisions to make in his case, including whether to offer a plea, whether to dismiss

the case, or whether to seek a superseding indictment, 28 U.S.C. § 546(d) is constitutionally infirm.

See Motion at 14.

       Moreau also argues that Mr. Fouratt’s appointment by the district court violated the

separation-of-powers doctrine. See Motion at 15-17. Moreau contends that the statute by which Mr.

Fouratt was appointed “avoids public accountability.” Motion at 17. He argues that Mr. Fouratt is

accountable to the Article III judges who appointed him. Id.

       The United States responded to Moreau’s motion on February 21, 2008. See Response. The

United States argues that the appointment of Mr. Fouratt did not violate the Appointments Clause

because: (i) United States Attorneys are inferior officers under the Appointments Clause and (ii) the

                                                -4-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08      Page 5 of 65




Supreme Court of the United States has already concluded that judicial appointment of prosecutors

is not incongruous with judicial functions. See Response at 6-14. The United States argues that the

United States Court of Appeals for the First Circuit in United States v. Hilario, 218 F.3d 19, 26 (1st

Cir. 2000), cert. denied., 531 U.S. 1014 (2000), provided the proper standard for determining

whether the appointment of Mr. Fouratt violated separation of powers. See Response at 15.

       Under the inquiry in United States v. Hilario, the court must ask: (i) whether Congress, in

vesting the power to appoint interim United States Attorneys in the district court, conferred upon

the judges a power that usurped the prerogatives of another branch of government and, thus, effected

an unconstitutional accumulation of power within the Judicial Branch; and (ii) whether the exercise

of the power to appoint somehow impedes the proper functioning of the Judicial Branch. See United

States v. Hilario, 218 F.3d at 27. The United States contends that 28 U.S.C. § 546(d) only “gives

the district court a limited power of appointment, and does not grant the district court any authority

to supervise or remove an interim United States Attorney.” Response at 15. The United States

argues that the appointment of Mr. Fouratt does not “impugn the judiciary’s institutional integrity.”

Response at 17 (internal quotations omitted).

       The United States also notes that Moreau does not explain why dismissal of his indictment

is a valid remedy for his claimed constitutional injury because he “offers no explanation as to why

a validly obtained indictment, filed during the tenure of a duly appointed United States Attorney,

should be dismissed if a subsequent United States Attorney is defectively appointed.” Id. at 20.

       The Court held a hearing on March 8, 2008. Moreau contended that he was raising both a

facial and an as-applied challenge in his motion. See Tr. at 11:14-17 (Court & Winterbottom).

Moreau’s motion, however, did not directly raise an as-applied challenge. See Motion. Moreau

requested, as an alternative remedy, that the Court stay his case until the United States “could cure

                                                 -5-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 6 of 65




the problem through a proper appointment . . . .” Id. at 14:25 (Winterbottom). He suggested it

would be the functional equivalent of a dismissal without prejudice and would allow the United

States to reindict once the alleged constitutional infirmity is cured.            See id. at 15:1-3

(Winterbottom).

       Moreau noted that, since Mr. Fouratt has been appointed, a plea has been taken off of the

table by the United States, the witness list has changed, and additional counsel has been assigned

to prosecute his case. See id. at 10:23-25 (Winterbottom). Moreau argued that Mr. Fouratt has

decided to “at least double his office’s resources in [Moreau’s] prosecution.” Id. at 11:9-10

(Winterbottom). The United States suggested that the Court should only rely on Edmond v. United

States, 520 U.S. 651 (1997). See Tr. at 21:12-13 (Federici).

     LAW REGARDING THE POSITION OF THE UNITED STATES ATTORNEY

       While a United States Attorney is important in his or her district, importance does not answer

the question whether the position is a principal or inferior office. Rather, the Court must look

carefully at the details of the statutory framework that governs the appointment, removal, and

supervision of United States Attorneys. While there have been recent changes, certain features of

the current statutory framework have remained consistent over the last one-hundred years.

       1.      Role and Powers of United States Attorneys.

       Title 28, Section 547 of the United States Code enumerates a United States Attorney’s

responsibility to prosecute criminal cases that the United States brings, to prosecute and defend civil

cases in which the United States is a party, and to collect debts owed to the United States that cannot

be collected through administrative means. See 28 U.S.C. § 547. United States Attorneys serve as

the chief federal law enforcement official within each of the nation’s ninety-four judicial districts.

See 28 U.S.C. § 541(a) (“The President shall appoint, by and with the advice and consent of the

                                                 -6-
        Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 7 of 65




Senate, a United States attorney for each judicial district.”); Nadler v. Mann, 951 F.2d 301, 305

(11th Cir. 1992)(“A United States Attorney . . . is the chief federal law enforcement official for the

judicial district he serves and is responsible for the prosecution of all offenses against the United

States within his district.”)(citing 28 U.S.C. §§ 541, 547). The scope and scale of federal-law

enforcement expanded dramatically during the twentieth century.             See, e.g., Bonner, The

Federalization of Crime: Too Much of a Good Thing?, 32 U. Rich. L. Rev. 905, 920-25 (1998).

Accordingly, the United States Attorney has the ability to affect the lives of almost every citizen of

his or her district.

        With a few exceptions, the United States Attorneys have been delegated the authority to

make the important and sensitive decisions that drive criminal prosecutions. See 28 U.S.C. § 547(1)

(vesting United States Attorneys with authority to “prosecute for all offenses against the United

States”). “With law enforcement comes discretion . . . .” Wiener, Inter-Branch Appointments After

the Independent Counsel: Court Appointment of United States Attorneys, 86 Minn. L. Rev. 363, 369

(2001). Federal prosecutors have broad discretion. “For example, U.S. Attorneys routinely decide

whether to focus limited investigative and prosecutorial resources on petty criminals, white-collar

criminals, loan sharks, cyberspace pirates, or violent street gangs.” Id. at 366. The United States

Attorney’s prosecutorial philosophy, and his or her assessment of the particular problems and

vulnerabilities, inform these judgments. See Wiener, supra at 366 n.12 (citing Executive Office for

the U.S. Attorneys, U.S. Dep’t of Justice, United States Attorneys Annual Statistical Report 1

(2000)(“Each United States Attorney is responsible for establishing law enforcement priorities

within his or her district.”); Executive Office for the U.S. Attorneys, U.S. Dep’t of Justice, United

States Attorneys Annual Statistical Reports for 2002 through 2006, available at

http://www.usdoj.gov/usao/reading_room/ foiamanuals.html.

                                                 -7-
          Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08       Page 8 of 65




          For most cases, “the prosecutorial discretion of the U.S. Attorney is vast and unchecked by

any formal, external constraints or regulatory mechanisms.” Frase, The Decision to File Federal

Criminal Charges: A Quantitive Study of Prosecutorial Discretion, 47 U. Chi. L. Rev. 246, 303

(1980).

          U.S. Attorneys exercise the entire range of prosecutorial discretion literally on a
          daily basis. For example, on behalf of the United States, U.S. Attorneys routinely
          decide what crimes grand juries will investigate; what evidence and witnesses will
          be presented to the grand jury; whether to pursue an investigation, or to close one;
          what charges will be brought, against whom, and on how many counts; and whether
          charges will be dropped or reduced in exchange for a guilty plea and cooperation.
          Further, through the inevitable rationing of limited resources, U.S. Attorneys set the
          federal law enforcement agenda for their districts by determining which crimes are
          worth major investigative resources, which crimes are better left to the state criminal
          justice systems, when justice will be served by leniency, and what magnitude of
          fraud deserves to be prosecuted.

Wiener, supra at 382-83. See United States v. Luttrell, 923 F.2d 764 (9th Cir. 1991)(holding that

probable cause or reasonable suspicion are not prerequisites for initiating investigations of

individuals); Levenson, Working Outside the Rules: The Undefined Responsibilities of Federal

Prosecutors, 26 Fordham Urb. L.J. 553, 560 (1999)(“The law does not pretend to dictate when a

prosecutor may open an investigation.”). These discretionary powers led Attorney General, and later

Associate Justice, Robert Jackson to conclude that “[t]he prosecutor has more control over life,

liberty, and reputation than any other person in America.” Attorney General Robert Jackson, The

Federal Prosecutor, Address Delivered at the Second Annual Conference of United States Attorneys

(April 1, 1940), reprinted in 24 J. Am. Judicature Soc’y 18 (1940).

          One of the greatest difficulties of the position of prosecutor is that he must pick his
          cases, because no prosecutor can even investigate all of the cases in which he
          receives complaints. . . . What every prosecutor is practically required to do is to
          select the cases for prosecution and to select those in which the offense is the most
          flagrant, the public harm the greatest, and the proof the most certain.

Id. at 18.

                                                   -8-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08      Page 9 of 65




       2.      Statutory History and Background of Appointing United States Attorneys.

       The Appointments Clause of the United States Constitution provides:

       He shall have Power, by and with the Advice and Consent of the Senate, to make
       Treaties, provided two thirds of the Senators present concur; and he shall nominate,
       and by and with the Advice and Consent of the Senate, shall appoint Ambassadors,
       other public Ministers and Consuls, Judges of the supreme Court, and all other
       Officers of the United States, whose Appointments are not herein otherwise provided
       for, and which shall be established by Law: but the Congress may by Law vest the
       Appointment of such inferior Officers, as they think proper, in the President alone,
       in the Courts of Law, or in the Heads of Departments.

U.S. Const., art. II, § 2, cl. 3 (emphasis added). Since 1789, federal law has mandated that the

President of the United States, with the advice and consent of the United States Senate, appoints a

United States Attorney. See Parsons v. United States, 167 U.S. 324, 338-39 (1897); 28 U.S.C. §

541(a). Congress has, however, provided by statute for appointment of a United States Attorney by

the courts for more than half the life of the republic. Congress first authorized the judicial

appointment of interim United States Attorneys in 1863, vesting the Circuit Justice with power to

fill a vacancy “until an appointment shall be made by the President, and the appointment has duly

qualified, and no longer.” Act to Give Greater Efficiency to the Judicial System of the United States

of March 3, 1863, 12 Stat. 768. In 1898, Congress transferred this authority to the district courts,

because “‘the circuit justice is not always to be found in the circuit and time is wasted in

ascertaining his whereabouts.’” United States v. Sotomayor-Vazquez, 69 F.Supp.2d 286, 295

(D.P.R. 1999)(quoting H.R. Rep. No. 1317, 55th Cong., 2d Sess. 1 (1898)).

       Since the Civil War, with the exception of a very brief hiatus from 2006 to 2007, Congress

has continuously and intentionally vested the federal judiciary with a role in appointment of United

States Attorneys. See USA PATRIOT Improvement and Reauthorization Act of 2005, Pub. L. No.

109-177, 120 Stat. 192. For example, in 1985, the Department of Justice requested that Congress


                                                -9-
      Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08      Page 10 of 65




authorize the Attorney General to fill vacancies in the Offices of the United States Attorneys, but

the statute that Congress adopted the next year permitted the Attorney General to make only a 120-

day appointment, while retaining the judiciary’s power to make appointments after this 120-day

period had expired. Compare 131 Cong.Rec. S9185-02 (July 9, 1985) with Pub. L. No. 99-646, Sec.

69, 100 Stat. 3592. Thus, before 2006, Title 28, Section 546 of the United States Code delegated

appointment power to the Attorney General where a federal district’s United States Attorney’s office

remained vacant.

       The Attorney General’s appointment power was, however, limited in candidacy and scope.

An Attorney General could not appoint an individual whom the United States Senate had previously

refused pursuant to its advice and consent responsibilities. See 28 U.S.C. § 546(b). Furthermore,

an Attorney General’s appointment lasted only until the President appointed a United States

Attorney, but in no case was the Attorney General’s appointee permitted to hold office beyond 120

days. See 28 U.S.C. § 546(c). If the Attorney General’s appointment expired under the 120-day

rule, the United States District Court had the power to appoint an interim United States Attorney

until an appointment by the President, with presentment to the Senate, could be effected. See 28

U.S.C. § 546(d).

       The only brief break in the judiciary’s appointment power since the Civil War came in 2006

with the passage of the USA PATRIOT Improvement and Reauthorization Act of 2005. See Pub.

L. No. 109-177, 120 Stat. 192. In 2006, Congress struck the 120-day limitation of § 546(c)(2) and

struck § 546(d) altogether. See Pub. L. No. 109-177, 120 Stat. 192. Subsection (d) of § 546 had

allowed the United States District Court to appoint an interim United States Attorney upon the

expiration of the statutory 120-day period. See 28 U.S.C. § 546(d).



                                               -10-
      Case 1:07-cr-00388-JB          Document 219          Filed 04/03/08      Page 11 of 65




       3.      The Current Statutory Appointment Process.

       In 2007, Congress restored both the 120-day limitation upon the term of the Attorney

General’s appointee and the judiciary’s power to make appointments of United States Attorneys in

28 U.S.C. § 546(d). See Preserving United States Attorney Independence Act of 2007, Pub. L. 110-

34, 121 Stat. 224. Specifically, Congress amended 28 U.S.C. § 546 to reinstate the statutory

language in effect until 2006. See Preserving United States Attorney Independence Act of 2007,

Pub. L. 110-34, 121 Stat. 224.

       Thus, when a United States Attorney’s position is vacant, an interim United States Attorney

may be appointed. Congress has divided the responsibility for making interim appointments

between the Attorney General and the district courts. Section 546(d) now provides that district

courts may appoint an interim United States Attorney to serve “until the vacancy is filled.” 28

U.S.C. § 546(d).     Section 541(d) still confers, however, the power to appoint United States

Attorneys on the President. See 28 U.S.C. § 541(d).

       Specifically 28 U.S.C. § 546 presently provides that:

       (a) Except as provided in subsection (b), the Attorney General may appoint a United
       States attorney for the district in which the office of United States attorney is vacant.

       (b) The Attorney General shall not appoint as United States attorney a person to
       whose appointment by the President to that office the Senate refused to give advice
       and consent.

       (c) A person appointed as United States attorney under this section may serve until
       the earlier of--

       (1) the qualification of a United States attorney for such district appointed by the
       President under section 541 of this title; or

       (2) the expiration of 120 days after appointment by the Attorney General under this
       section.

       (d) If an appointment expires under subsection (c)(2) of this section, the district court

                                                 -11-
          Case 1:07-cr-00388-JB         Document 219          Filed 04/03/08      Page 12 of 65




          for such district may appoint a United States attorney to serve until the vacancy is
          filled. The order of appointment by the court shall be filed with the clerk of the court.

28 U.S.C. § 546. The statute does not require the district court to appoint a United States Attorney

once the 120-day period has run on the Attorney General’s appointment. See Wiener, supra at 399.

“Instead, the statute provides that the district court ‘may’ make its own appointment.” Id. (quoting

28 U.S.C. § 546(d)). See United States v. Gantt, 194 F.3d 987, 1000 (9th Cir. 1999)(stating that

“[t]he judicial branch is not required to appoint a United States Attorney; it is simply empowered

to do so.”).

          Mr. Ross Wiener, a Trial Attorney with the Department of Justice, points out that ambiguity

exists concerning the Attorney General’s appointment authority when no U.S. Attorney has been

confirmed by the Senate at the end of the 120-day limit imposed by the statute. See Wiener, supra

at 401.

          Because the statute limits the Attorney General-appointed U.S. Attorney’s term to
          120 days, the position is legally “vacant” after the 120 days have expired. The plain
          language of the statute appears to vest the Attorney General with the authority to
          appoint another U.S. Attorney. The paltry legislative history on § 546, however,
          implies that such a subsequent appointment by the Attorney General was not what
          Congress intended. As Congressman Berman stated on the floor of the House of
          Representatives, “[o]nce the appointment of an interim United States Attorney
          expires, the district court appoints a United States Attorney to serve until a
          presidentially appointed United States Attorney is qualified.” . . . The Justice
          Department has taken the position that a second appointment by the Attorney
          General would be inappropriate because “[t]he statutory plan discloses a
          [c]ongressional purpose that after the expiration of the 120-day period further
          interim appointments are to be made by the court rather than by the Attorney
          General.” . . . [T]he Department of Justice’s Office of Legal Counsel argued that,
          if the President removed a court-appointed U.S. Attorney, then the Attorney General
          would have the power to appoint another U.S. Attorney. . . . These competing
          interpretations have never been reconciled because this authority has apparently
          never been tested.

Id. at 401-403 (citing Memorandum from Samuel A. Alito, Jr., Deputy Assistant Attorney General,

Office of Legal Counsel, to William P. Tyson, Director, Executive Office for United States

                                                    -12-
       Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 13 of 65




Attorneys 3 (Nov. 13, 1986)(on file with Wiener)); 132 Cong. Rec. 32707, 32806 (statement of Rep.

Burman); Memorandum from Charles J. Cooper, Assistant Attorney General, Office of Legal

Counsel, to Arnold I. Burns, Deputy Attorney General 1 (Apr. 15, 1980)(on file with Wiener)).

Nevertheless, it appears clear that, if the judiciary appoints a United States Attorney, the President

remains able to appoint another United States Attorney.

       It is important to note that, “[s]ince the Independent Counsel Act expired, the U.S. Attorney

remains the only executive-branch officer who[m] courts have the power to appoint.” Wiener, supra

at 363. For example, Congress has not granted the district court authority to fill vacancies in the

office of the United States Marshal. See 28 U.S.C. § 562.

       4.      How Judicial Appointment Often Works.

       Mr. Wiener, in his law review article, provides some information on how the process of

filling the United States Attorney vacancies proceeds after the 120-day appointment by the Attorney

General expires. See Wiener, supra at 398-99. Mr. Wiener states:

       In the usual course, very little changes upon the expiration of the 120-day term of the
       Attorney General’s appointee. This is because, as a matter of practice, the
       Department of Justice works behind the scenes to affect smooth transitions. When
       a vacancy initially arises or is about to arise, where advance notice has been
       provided, representatives of the Attorney General contact the chief judge of the
       appropriate district court to explain the provisions dealing with the interim
       appointment of the U.S. Attorney. The Department of Justice officials inform the
       chief district court judge of the Attorney General’s likely appointee and solicit the
       judge’s reaction. The Attorney General almost always selects a career Assistant U.S.
       Attorney from the district in which the vacancy arises. Sometimes, though
       infrequently, the Attorney General selects a career prosecutor from Main Justice. By
       keeping the chief district court judge “in the loop” during the Attorney General’s
       selection process and by choosing, in most instances, a career prosecutor with whom
       the judge is familiar, the Attorney General can reasonably expect that her appointee
       will continue to serve as U.S. Attorney at the expiration of the 120 days. This may
       occur either through subsequent court appointment of the same individual or through
       court inaction that leaves the Attorney General’s appointee, albeit precariously, in
       place. Near the expiration of the Attorney General’s appointee’s 120-day tenure,
       representatives of the Attorney General send a letter to the chief district judge

                                                -13-
       Case 1:07-cr-00388-JB          Document 219          Filed 04/03/08      Page 14 of 65




        reminding the judge of the Court’s authority to appoint another U.S. Attorney. The
        letter also includes a proposed court order reappointing the Attorney General’s
        appointee.

Id. at 399-400 (citing an interview with David Margolis and Bernie Delia, Associate Deputy

Attorneys General, in Washington, D.C. (December 28, 2000)(on file with Wiener)).

        5.      History of Removal of United States Attorneys.

        The power to remove a United States Attorney is vested exclusively in the President, who

may exercise that power for any reason. See 28 U.S.C. § 541(c); Parsons v. United States, 167 U.S.

324, 331 (1895). Thus, only the President can discharge a United States Attorney. Accordingly,

an interim United States Attorney must relinquish the position when a Presidential appointee

becomes qualified, either through the nomination and confirmation process or through a recess

appointment. See In re: Farrow, 3 F. 112, 116 (C.C. N.D. Ga. 1880)(noting that predecessor statute

authorizing judicial appointment of interim United States Attorney “was not to enable the circuit

justice to oust the power of the president to appoint, but to authorize him to fill the vacancy until the

president should act, and no longer”).

        6.      Supervision of United States Attorneys.

        The Attorney General’s supervision of United States Attorneys in the modern era is

pervasive. This control began in 1861, when Congress first charged the Attorney General with the

“general superintendence and direction of” United States Attorneys. Act of August 2, 1861, Ch. 37,

12 Stat. 185. Congress consolidated the Attorney General’s control further in 1870 when Congress

established the Department of Justice. See An Act to establish the Department of Justice, 16 Stat.

164. By 1888, the Supreme Court had observed that the Attorney General “has the authority, and

it is made the duty, to supervise and conduct all suits brought by or against the United States . . .

and all the district attorneys who do bring them in the various courts in the county are placed under

                                                  -14-
       Case 1:07-cr-00388-JB              Document 219          Filed 04/03/08        Page 15 of 65




his immediate direction and control.” United States v. San Jacinto Tin, 125 U.S. 273, 278-79

(1888).

          The Attorney General continues to exercise control over United States Attorneys, as the First

Circuit noted in United States v. Hilario:

          Congress has ceded to the Attorney General plenary authority over United States
          Attorneys. See 28 U.S.C. § 519; see also id. § 516 (reserving litigation on behalf of
          the United States to officers of the Department of Justice “under the direction of the
          Attorney General”). . . . The Attorney General can remove a United States Attorney
          from participation in particular cases whenever she believes that it would be “in the
          interests of the United States” to do so. 28 U.S.C. § 518(b). Indeed, she is
          empowered to determine the location of a United States Attorney’s offices, see id.
          § 545(b), to direct that he file reports, see id. § 547(5), to fix his salary, see id. § 548,
          to authorize his office expenses, see id. § 549, and to approve his staffing decisions,
          see id. § 550.

United States v. Hilario, 218 F.3d at 25. The United States Attorney’s Manual (“USAM”) further

outlines specific activities of the United States Attorneys that require approval from the Attorney

General or his subordinates. A few examples include: (i) recusal of a United States Attorney from

a case, see USAM § 3-2.170; (ii) accepting or rejecting settlement offers in many civil cases, see

28 C.F.R. §§ 0.160 to 0.166; USAM § 5-7.620; (iii) initiating a grand-jury investigation limited to

tax violations, see USAM § 6-4.120; (iv) bringing a RICO prosecution, see USAM § 9-110.101; (v)

obtaining immunity to compel a witness to testify, see USAM §§ 9-23.130, 9-90.020; (vi) obtaining

search warrants in specified circumstances, see USAM §§ 9-13.420, 9-19.220, 9-90.210; (vii)

bringing a federal prosecution based on acts involved in a prior state or federal proceeding, see

USAM § 9-2.031; and (viii) seeking the death penalty in a criminal case, see USAM § 9-10.020.

          Department of Justice policy sets forth numerous other actions that require United States

Attorneys and Assistant United States Attorneys to consult with Department of Justice officials. See

USAM § 3-1.200 (Prior Approvals Requirement Chart regarding Executive Office for United States


                                                      -15-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 16 of 65




Attorneys); USAM § 4-1.600 (Prior Approvals Chart regarding Assignment of Responsibilities in

Civil Matters); USAM § 5-2.000 (Prior Approvals Chart regarding Environment and Natural

Resources Matters); USAM § 6-2.000 (Prior Approvals Chart regarding Tax Matters); USAM §

7-2.000 (Prior Approvals Chart regarding Antitrust Matters); USAM § 9-2.400 (Prior Approvals

Chart regarding Criminal Matters). Furthermore, with respect to appellate matters, the Solicitor

General exercises substantial control over United States Attorneys. For example, no United States

Attorney may prosecute an appeal without obtaining the Solicitor General’s permission. See 28

C.F.R. § 0.20; USAM § 2-1.000. In Supreme Court matters, the Solicitor General must either

conduct the litigation on behalf of the United States, or assign and supervise the matter. See 28

C.F.R. § 0.20(a). In addition, the Tax Division, the Civil Rights Division, and the Civil Division

of the Department of Justice possess substantial authority to handle appellate litigation in civil

matters that fall within their respective areas of responsibility. See USAM §§ 2-3.200, 2-3.210, and

2-3.220.

       7.      The Nature of a Judicially Appointed United States Attorney.

       Both Moreau and the United States, at numerous places in their briefing, refer to Mr. Fouratt

as an “interim” United States Attorney, but that characterization does not fully capture the

uniqueness of his position. In one sense, all United States Attorneys are interim; there will always

be some replacement down the road. In that sense, the word “interim” gives little meaning. The

Court also does not think “interim” has much meaning when applied to judicially appointed United

States Attorneys. While a judicially appointed United States Attorney serves until the President

appoints and the Senate confirms a replacement, some judicially appointed United States Attorneys

serve for years, and the reality is that Mr. Fouratt may serve at least until the new President is sworn

in 2009. Moreover, an appointment under § 546(d) confers upon the appointee all the powers of a

                                                 -16-
       Case 1:07-cr-00388-JB          Document 219          Filed 04/03/08      Page 17 of 65




United States Attorney. See In re: Grand Jury Proceedings, 673 F.Supp. 1138, 1142 (D.Mass.

1987)(explaining that appointment under § 546(d) results in an “actual, fully empowered United

States Attorney”). Accordingly, the Court will refer to Mr. Fouratt as a judicially appointed United

States Attorney rather than an “interim” United States Attorney.

        8.      Indictments and Role of Assistant United States Attorneys.

        Indictments only need be signed by “an attorney for the government.” Fed. R. Crim. P.

7(c)(1). Rule 54(c) of the Federal Rules of Criminal Procedure goes on to define the phrase

“attorney for the government” as “the Attorney General, an authorized assistant of the Attorney

General, a United States Attorney, [or] an authorized assistant of a United States Attorney . . . .”

Fed. R. Crim. P. 54(c).

        While 28 U.S.C. § 547(1) authorizes the United States Attorney to “prosecute for all offenses

against the United States” in his or her district, this authority is not exclusive. Id. All the functions

of the United States Attorney, including the power to prosecute, are also vested in the Attorney

General, and the Attorney General has the power to supervise and direct United States Attorneys and

Assistant United States Attorneys in the discharge of their duties. See 28 U.S.C. §§ 509, 515, and

519. Moreover, the Attorney General, not the United States Attorney, appoints and removes

Assistant United States Attorneys. See 28 U.S.C. § 542(a) (“The Attorney General may appoint one

or more assistant United States attorneys in any district where the public interest so requires.”).

        Accordingly, Assistant United States Attorneys derive their power to prosecute directly from

the Attorney General, not from a United States Attorney. While United States Attorneys supervise

and direct the Assistant United States Attorneys assigned to their offices, it does not follow that

Assistant United States Attorneys lack the power to prosecute in the absence of a duly-appointed

United States Attorney. Indeed, in the event of a vacancy in the office of the United States Attorney,

                                                  -17-
       Case 1:07-cr-00388-JB         Document 219        Filed 04/03/08      Page 18 of 65




Assistant United States Attorneys retain prosecutorial authority, as originally delegated to them by

the Attorney General, subject to the supervision of the Attorney General and the Department of

Justice. See 28 U.S.C. § 519 (granting Attorney General the power to supervise Assistant United

States Attorneys in the discharge of their duties).

       9.      Federal Public Defender.

       The United States Courts of Appeals appoint the Federal Public Defenders even though the

Federal Public Defender and his or her subordinates regularly represent clients in appellate cases.

See 18 U.S.C. § 3006A(g)(2)(A). Moreover, unlike United States Attorneys appointed under §

546(d), who are supervised exclusively by the Executive Branch, Federal Public Defenders are

subject to oversight by the Court of Appeals after their appointment. The Courts of Appeals sets

their salaries, directs how many attorneys work in their offices, and determines whether they will

be reappointed after their four-year term expires. See 18 U.S.C. § 3006A(g)(2)(A). The Courts of

Appeals may remove the Federal Public Defenders from office for “incompetency, misconduct in

office or neglect of duty.” Id.

       The District Court’s Order Adopting Criminal Justice Act Plan, Misc. No. 1426, provides

that the Court determines membership on the CJA Panel and retains removal power. See CJA Order

at 10-11 (dated May 10, 2004) (“The court shall approve attorneys for membership on the CJA

Panel . . . . Membership on the CJA Panel is a privilege and not a right and members of the CJA

Panel serve at the pleasure of the court.”), available at http://cms/ metadot/index.pl? iid=4367&isa=

Item. The Court exercises its discretion whether to appoint CJA counsel in individual cases. See

id. at 7. The Court reviews and approves CJA panel attorneys’ billings for legal services, permitting

in camera hearings whether a claim for payment “should be cut or reduced.” Id. at 25-26.



                                                -18-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 19 of 65




                    LAW REGARDING THE APPOINTMENTS CLAUSE

       The United States Constitution provides that the President appoints principal officers and

that Congress may decide who appoints “inferior” officers. U.S. Const. Art. II, § 2, cl. 2. While the

Constitution has given the President power to appoint some officers, the Constitution gives Congress

great discretion to decide how inferior officers are appointed. The debate has thus largely focused

on what offices are superior and what offices are inferior.

       1.      The Appointments Clause.

       The Appointments Clause is designed to use the checks and balances of the constitutional

structure to ensure a “higher quality of appointments.” Edmond v. United States, 520 U.S. at 659.

The Appointments Clause makes nomination and confirmation the requisite appointment protocol

for what have come to be known as “principal officers” of the United States by allowing Congress

to permit a limited class of officials to appoint “inferior officers” without the need for confirmation.

Edmond v. United States, 520 U.S. at 659-61. Congress thus cannot delegate the appointment of

“principal” officers to anyone other than the Executive Branch, but can validly delegate the

appointment of “inferior” officers.

       The Appointment Clause “is a bulwark against one branch aggrandizing its power at the

expense of another branch . . . by preventing the diffusion of the appointment power.” Ryder v.

United States, 515 U.S. 177, 182 (1995)(internal quotations omitted). The Appointments Clause

dictates that the President, with the advice and consent of the Senate, possesses the sole authority

to appoint “principal” officers of the United States. Buckley v. Valeo, 424 U.S. 1, 132 (1976)(per

curiam); United States v. Germaine, 99 U.S. 508, 509 (1878)(“[The Clause] declares that the

President shall nominate, and by and with the advice and consent of the Senate shall appoint,

ambassadors, other public ministers and consuls, judges of the Supreme Court, and all other officers

                                                 -19-
       Case 1:07-cr-00388-JB           Document 219          Filed 04/03/08       Page 20 of 65




of the United States, whose appointments are not herein otherwise provided for and which shall be

established by law.”)(internal quotations omitted). On the other hand, Congress is empowered to

authorize the appointment of “inferior” officers “in the President alone, in the Courts of Law, or in

the Heads of Departments.” U.S. Const. Art. II, § 2, cl. 2.

        “On its face, the language of this excepting clause admits of no limitation on interbranch

appointments [of inferior officers]. Indeed, the inclusion of as ‘they think proper’ seems clearly to

give Congress significant discretion to determine whether it is proper to vest appointment of, for

example, executive officials in the ‘courts of Law.’” Morrison v. Olson, 487 U.S. at 673 (quoting

U.S. Const. Art. II, § 2, cl. 2.). Thus, if the position is characterized as an inferior position, Congress

has considerable discretion in how the position will be filled.

        2.      Caselaw Defining Principal and Inferior Offices.

        The Supreme Court has had relatively few occasions to define the difference between

principal and inferior officers. Most decisions have proceeded on an ad hoc analysis.

        In Ex parte Siebold, 100 U.S. 371 (1870), the Supreme Court examined the court

appointment of “judges of election,” who watched the polls for congressional elections. Id. at 373.

The defendants, including Siebold, had been convicted of engaging in election fraud. See id. at 377-

79. The defendants appealed their convictions and challenged their own interbranch appointments

as violative of the Appointment Clause. See id. at 397.

        The Supreme Court recognized, in Ex Parte Siebold, the validity of interbranch appointments

and introduced the incongruity analysis to limit such appointments. See id. at 398 (“[T]he duty to

appoint inferior officers, when required thereto by law, is a constitutional duty of the courts; and in

the present case there is no such incongruity in the duty required as to excuse the courts from its

performance, or to render their acts void.”). The Supreme Court rejected the contention that

                                                   -20-
      Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08      Page 21 of 65




appointment of supervisors of election by the Circuit Courts is an entirely executive function, and

also rejected the contention "that no power can be conferred upon the courts of the United States to

appoint officers whose duties are not connected with the judicial department of the government."

Id. at 397. The Supreme Court noted that the Constitution explicitly authorized courts to exercise

appointive power. See id. at 397-98. Thus, where the law conferred appointive authority on the

courts, it became a constitutional duty of the courts to make appointments unless there was “such

an incongruity in the duty required as to excuse the courts from its performance, or to render their

acts void.” Id. at 398. The Supreme Court determined that appointment of the election supervisors

by the district court was not incongruous with appropriate judicial activity. See id.

       Two Supreme Court cases decided within ten years of each other -- Morrison v. Olson and

Edmond v. United States -- illustrate the ad hoc nature of Appointments Clause jurisprudence and

offer divergent approaches to distinguishing between principal and inferior officers.

       3.      Morrison v. Olson.

       Congress passed the Ethics in Government Act in 1978 as a reaction to the Watergate

scandal in an "attempt to remove discretion over criminal investigations and prosecutions of high-

level government officials from the political arena . . . ." Wiener, supra at 406. The Ethics in

Government Act of 1978 gave power to the Special Division, a court that the Congress created, to

appoint an independent counsel. The Supreme Court in Morrison v. Olson noted that the appointing

judges were “ineligible to participate in any matters relating to an independent counsel they have

appointed.” 487 U.S. at 677. See 28 U.S.C. § 49(f)(“[N]o member of such division of the court

who participated in a function conferred on the division under chapter 40 of this title involving an

independent counsel shall be eligible to participate in any judicial proceeding concerning a matter

which involves such independent counsel while such independent counsel is serving in that office

                                               -21-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 22 of 65




or which involves the exercise of such independent counsel's official duties, regardless of whether

such independent counsel is still serving in that office.”). The Supreme Court also explained that

independent counsel were "subject to removal by a higher Executive Branch official." Morrison v.

Olson, 487 U.S. at 671. The Supreme Court further stated that, “[u]nlike other prosecutors, [the

Independent Counsel had] no ongoing responsibilities that extend beyond the accomplishment of

the mission that she was appointed for and authorized by the Special Division to undertake.” Id. at

672.

       In Morrison v. Olson, the Supreme Court considered and reviewed, among other issues, the

constitutionality of the independent-counsel provisions of the Ethics in Government Act of 1978.

In Morrison v. Olson, three former government officials challenged the authority of independent

counsel appointed under provisions of the Ethics and Government Reform Act to issue subpoenas

to compel their testimony. See 487 U.S. at 654. The former officials challenged the subpoenas as

unconstitutional under the Appointments Clause. See id. at 670-77.

       The Supreme Court’s decision in Morrison v. Olson ultimately rested on the distinction

between “principal” and “inferior” officers of the United States. The Supreme Court noted that the

Appointments Clause divides all officers into two classes: inferior and principal. See id. at 670-71.

"The line between 'inferior' and 'principal' officers is one that is far from clear, and the Framers

provided little guidance into where it should be drawn." Id. at 671.

       The Supreme Court in Morrison v. Olson emphasized the independent counsel's authority

to perform certain limited duties, that the independent counsel's office is limited in jurisdiction, and

that the office is limited in tenure. See id. at 671-72. The Supreme Court held that independent

counsel are inferior officers. See id. at 673. It held the appointment of an independent counsel was

that of an “inferior” officer and ultimately upheld the constitutionality of the Act’s appointment

                                                 -22-
       Case 1:07-cr-00388-JB          Document 219          Filed 04/03/08      Page 23 of 65




provisions. Id. at 677.

        The Supreme Court in Morrison v. Olson noted: "Lower courts have also upheld interim

judicial appointments of United States Attorneys . . . and Congress itself has vested the power to

make these interim appointments in the district courts.” 487 U.S. at 677 (citing 28 U.S.C. § 546(d)

and United States v. Solomon, 216 F.Supp. 835 (S.D.N.Y. 1963)). In holding the independent

counsel to be an “inferior” officer, however, the Supreme Court demurred on delineating any

specific test for “decid[ing] exactly where the line falls between” principal and inferior officers.

Morrison v. Olson, 487 U.S. at 671.

        4.      Justice Scalia’s Dissenting Opinion in Morrison v. Olson.

        Justice Kennedy took no part in the Morrison v. Olson decision. See Morrison v. Olson, 487

U.S. at 697. Justice Scalia was the sole justice to dissent. See id. (Scalia, J., dissenting). Justice

Scalia concluded that the level of independence conferred on the Independent Counsel would

demand the accountability ensured through presidential control. See id. at 707.

        Starting from the proposition that law enforcement -- the power to prosecute individuals for

legal transgressions -- is a “quintessentially executive function,” id. at 706, Justice Scalia recognized

that “the balancing of various legal, practical, and political considerations, none of which is absolute,

is the very essence of prosecutorial discretion,” id. at 708. In a significant recognition for

determining the status of United States Attorneys, Justice Scalia stated that “[e]ven an officer who

is subordinate to a department head can be a principal officer.” Id. at 722 (referring to debates at

the Constitutional Convention). Justice Scalia argued that there is nothing “unusually limited about

the independent’s counsel’s tenure,” because “unlike most high-ranking Executive Branch officials,

she continues to serve until she (or the Special Division) decides that her work is substantially

completed.” Id. at 718.

                                                  -23-
          Case 1:07-cr-00388-JB        Document 219         Filed 04/03/08      Page 24 of 65




          Justice Scalia also did not agree with the majority that the independent counsel’s scope of

jurisdiction was small. See id. He stated:

          If the mere fragmentation of executive responsibilities into small departments
          suffices to render the heads of each of those compartments inferior officers, then
          Congress could deprive the President of the right to appoint his chief law
          enforcement officer by dividing up the Attorney General’s responsibilities among
          a number of “lesser” functionaries.

Id. In Justice Scalia’s opinion, the pertinent analysis for whether an appointee is an “inferior”

officer is whether that appointee is “subordinate.”         Id. at 719-20.    “That ‘inferior’ means

‘subordinate’ is also consistent with what little we know about the evolution of the Appointments

Clause.” Id. at 720. Justice Scalia explained:

          As originally reported to the Committee on Style, the Appointments Clause provided
          no “exception” from the standard manner of appointment (President with the advice
          and consent of the Senate) for inferior officers. On September 15, 1787, the last day
          of the Convention before the proposed Constitution was signed, in the midst of a host
          of minor changes that were being considered, Gouverneur Morris moved to add the
          exceptions clause. No great debate ensured; the only disagreement was over whether
          it was necessary at all. Nobody thought it was a fundamental change, excluding
          from the President’s appointment power and the Senate’s confirmation power a
          category of officers who might function on their own, outside the supervision of
          those appointed in the more cumbersome fashion. And it is significant that in the
          very brief discussion Madison mentions (as in apparent contrast to the “inferior
          officers” covered by the provision) “Superior Officers.” Of course one is not a
          “superior officer” without some supervisory responsibility, just as, I suggest, one is
          not an “inferior officer” within the meaning of the provision under discussion unless
          one is subject to supervision by a “superior officer.”

487 U.S. at 720 (internal citations omitted). Justice Scalia argued “it is surely a necessary condition

for inferior officer status that the officer be subordinate to another officer.” Id. at 722 (emphasis in

original). An appointee is not an inferior officer if she is not subordinate to another officer. See id.

at 723.

          5.     The Implied Congruity Requirement or Incongruity Limitation.

          In Morrison v. Olson, the Supreme Court stated: “We do not mean to say that Congress’

                                                  -24-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08       Page 25 of 65




power to provide for interbranch appointment of ‘inferior offices’ is unlimited.” 487 U.S. at 675.

Notwithstanding the sweeping constitutional language in the excepting provision of the

Appointments Clause, the Supreme Court has stated that even the Appointments Clause has limits

if Congress decides to vest the appointment power of an “inferior” officer in a branch which creates

an “incongruity” between the functions normally performed by that branch and its interbranch

appointment power. Id. at 675-76 (citing Ex parte Siebold, 100 U.S. 371, 398 (1880)).

       The Supreme Court has, however, already concluded that there is no “inherent incongruity

about a court having the power to appoint prosecutorial officers.” Morrison v. Olson, 487 U.S. at

676. “Indeed,” the Supreme Court declared, “in light of judicial experience with prosecutors in

criminal cases, it could be said that courts are especially well-qualified to appoint prosecutors.” Id.

at 676 n.13. The Supreme Court held that, because independent counsel are inferior officers, their

appointment by a congressionally created federal court was not unconstitutional, because it did not

create any "incongruity between the functions normally performed by the courts and the

performance of their duty to appoint." Id. at 676 (citing Ex parte Siebold, 100 U.S. at 398).

       In Morrison v. Olson, the Supreme Court cited the district court’s authority to appoint United

States Attorneys under § 546(d) in rejecting the contention that judicial appointment of prosecutors

was “incongruous” with court functions:

       We have recognized that courts may appoint private attorneys to act as prosecutor
       for judicial contempt judgments. . . [W]e [have] approved court appointment of
       United States commissioners, who exercised certain limited prosecutorial powers.
       . . . In Siebold, as well, we indicated that judicial appointment of federal marshals,
       who are “executive officer[s],” would not be inappropriate. Lower courts have also
       upheld interim judicial appointments of United States Attorneys, and Congress itself
       has vested the power to make these interim appointments in the district courts.

Morrison v. Olson, 487 U.S. at 676-77 (internal citations omitted). The Supreme Court further

acknowledged “the longstanding judicial practice of appointing defense attorneys for individuals

                                                 -25-
       Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 26 of 65




who are unable to afford representation.” Id. at 677 n.14. See 18 U.S.C. § 3006A(g)(2)(A)

(providing for appointment of Federal Public Defender by the Court of Appeals of the Circuit).

       The Supreme Court also rejected the contention that exercise of appointment power by the

congressionally created federal court was in conflict with Article III of the United States

Constitution. See Morrison v. Olson, 487 U.S. at 679 n.16 ("We do not think that judicial exercise

of the power to appoint, per se, is in any way inconsistent as a functional matter with the courts'

exercise of their Article III powers.")(emphasis in original).

       6.      Edmond v. United States.

       Subsequently, in Edmond v. United States, the Supreme Court considered whether the

Secretary of Transportation constitutionally appointed judges on the military’s Coast Guard Court

of Criminal Appeals (“CGCCA”). See 520 U.S. at 660-61. Justice Scalia wrote the majority

opinion. See id. at 653. The constitutionality of the appointments hinged on whether the appointees

were principal or inferior officers. See at 660-61.

       The Supreme Court first acknowledged that its "cases have not set forth an exclusive

criterion for distinguishing between principal and inferior officers for Appointments Clause

purposes." Id. at 661. It noted that "[a]mong the offices [it has] found to be inferior are that of a

district court clerk, an election supervisor, a vice consul charged temporarily with the duties of the

consul . . . a United States commissioner in a district court proceeding . . . [and] the independent

counsel created by the provisions of the Ethics in Government Act of 1978 . . . ." Id. (internal

citations and quotations omitted). The Supreme Court explained:

       Generally speaking, the term “inferior officer” connotes a relationship with some
       higher ranking officer or officers below the President: Whether one is an “inferior”
       officer depends on whether he has a supervisor. It is not enough that other officers
       may be identified who formally maintain a higher rank, or possess responsibilities
       of a greater magnitude. . . . Rather, in the context of a Clause designed to preserve

                                                -26-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08       Page 27 of 65




       political accountability relative to important Government assignments, we think it
       evident that “inferior officers” are officers whose work is directed and supervised at
       some level by others who were appointed by Presidential nomination with the advice
       and consent of the Senate.

Id. at 662-63. The Supreme Court concluded in Edmond v. United States that the appointed judges

were inferior officers "by reason of the supervision over their work exercised by the General

Counsel of the Department of Transportation in his capacity as Judge Advocate General and the

Court of Appeals for the Armed Forces." Id. at 666. The Supreme Court held the appointments

constitutional. See id.

       Justice Souter filed a concurrence in Edmond v. United States, repeating Justice Scalia’s

admonition in Morrison v. Olson: “Having a superior officer is necessary for inferior officer status,

but not sufficient to establish it.” 520 U.S. at 667 (Souter, J., concurring)(citing Morrison v. Olson,

487 U.S. at 722 (Scalia, J., dissenting)). After suggesting, in passing, that the Solicitor General may

be a principal officer despite his statutory “inferiority” to the Attorney General, Justice Souter’s

approach to the principal-versus-inferior dilemma reverted to the Court’s functional balancing test:

“What is needed . . . is a detailed look at the powers and duties of these judges to see whether

reasons favoring their inferior status within the constitutional scheme weigh more heavily than those

to the contrary.” Id. at 668. Justice Souter explained that a court should review a number of factors

to determine if an officer is “inferior” “including tenure, jurisdiction, duties, and removal.” Id. at

669.

       Thus, while the Constitution gives Congress great discretion to decide how inferior officers

are appointed, the ad hoc nature of Appointments Clause jurisprudence offers disparate approaches

to distinguishing between principal and inferior officers.




                                                 -27-
       Case 1:07-cr-00388-JB           Document 219         Filed 04/03/08       Page 28 of 65




                       LAW REGARDING SEPARATION OF POWERS

        The separation-of-powers doctrine is a separate limitation that the Supreme Court has

recognized on Congress’ ability to delegate appointment powers to entities other than the President.

The doctrine’s parameters, however, are imprecise. Accordingly, the lower courts must compare

with care their cases to the few precedents that the Supreme Court has provided.

        1.      The Separation-of-Powers Doctrine.

        Separation of powers is one of the foundations of the United States’ federalist system. “The

Constitution [seeks] to divide the delegated powers of the new Federal Government into three

defined categories, Legislative, Executive, and Judicial.” Bowsher v. Synar, 478 U.S. 714, 721

(1986). The Supreme Court has, accordingly, given both voice and importance to the doctrine. See

Mistretta v. United States, 488 U.S. 361, 380 (1989)(“This Court consistently has given voice to,

and has reaffirmed, the central judgment of the Framers of the Constitution that, within our political

scheme, the separation of governmental powers into three coordinate Branches is essential to the

preservation of liberty.”); Bowsher v. Synar, 478 U.S. at 722; I.N.S. v. Chadha, 462 U.S. 919, 951-

52 (1983)(“The Constitution sought to divide the delegated powers of the new federal government

into three defined categories, legislative, executive and judicial, to assure, as nearly as possible, that

each Branch of government would confine itself to its assigned responsibility. The hydraulic

pressure inherent within each of the separate Branches to exceed the outer limits of its power, even

to accomplish desirable objectives, must be resisted.”). “The fundamental necessity of maintaining

each of the three general departments of government entirely free from the control or coercive

influence, direct or indirect, of either of the others, has often been stressed and is hardly open to

serious question.” Humphrey’s Ex’r v. United States, 295 U.S. 602, 629 (1935).

        “While the Constitution diffuses power the better to secure liberty, it also contemplates that

                                                  -28-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08      Page 29 of 65




practice will integrate the dispersed powers into a workable government.” Youngstown Sheet &

Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952)(Jackson, J., concurring). “That this system of

divisions and separations of powers produces conflicts, confusion, and discordance at times is

inherent, but it was deliberately so structured to assure full, vigorous, and open debate on the great

issues affecting the people and to provide avenues for the operation of checks on the exercise of

governmental power.” Bowsher v. Synar, 478 U.S. at 722. “[T]he doctrine of separated powers

serves to eliminate arrangements that threaten to permit one branch either to aggrandize its power

or to encroach on functions reserved for another branch.” United States v. Hilario, 218 F.3d at 26

(citing Mistretta v. United States, 488 U.S. 361, 381-82 (1989)).

       However, “the Framers did not require -- and indeed rejected -- the notion that the three

Branches must be entirely separate and distinct.” Mistretta v. United States, 488 U.S. at 380. The

Appointments Clause enshrined the Framers’ rejection of an absolutist position and authorizes

Congress to make interbranch delegations of the inferior officer appointment power “as they think

proper.” U.S. Const. Art. II, § 2 cl. 2.

       Justice Scalia proposed a test, in his dissent in Morrison v. Olson, to measure the separation

of powers between the branches of government and to ensure that the Executive Power was not

emasculated:

       It seems to me, therefore, that the decision of the Court of Appeals invalidating the
       present statute must be upheld on fundamental separation of powers principles if the
       following two questions are answered affirmatively: [i] Is the conduct of a criminal
       prosecution (and of an investigation to decide whether to prosecute) the exercise of
       purely executive power? [ii] Does the statute deprive the President of the United
       States of exclusive control over the exercise of that power?

487 U.S. at 705. Justice Scalia explained: “[The independent counsel] is vested with the full power

and independent authority to exercise all investigative and prosecutorial functions and powers of the


                                                -29-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08      Page 30 of 65




Department of Justice [and] the Attorney General.” Id. at 706 (internal quotations omitted,

alterations and emphasis in original). Justice Scalia emphasized that “[i]t is not for [the Supreme

Court] to determine, and [it has] never presumed to determine, how much of the purely executive

powers of government must be within the full control of the President. The Constitution prescribes

that they all are.” Id. at 709 (emphasis in original).

       2.      A “Bifurcated Inquiry.”

       In Mistretta v. United States, the Supreme Court stated:

       Our constitutional principles of separated powers are not violated, however, by mere
       anomaly or innovation. Setting to one side, for the moment, the question whether the
       composition of the Sentencing Commission violates the separation of powers, we
       observe that Congress' decision to create an independent rulemaking body to
       promulgate sentencing guidelines and to locate that body within the Judicial Branch
       is not unconstitutional unless Congress has vested in the Commission powers that are
       more appropriately performed by the other Branches or that undermine the integrity
       of the Judiciary.

488 U.S. at 385. In Mistretta v. United States, the Supreme Court acknowledged that it has “sought

to give life to Madison’s view of the appropriate relationship among the three coequal Branches.”

Id. at 380. The Supreme Court explained:

       Accordingly . . . while our Constitution mandates that “each of the three general
       departments of government [must remain] entirely free from the control or coercive
       influence, direct or indirect, of either of the others,” Humphrey’s Executor v. United
       States, 295 U.S. 602, 629 . . . (1935), the Framers did not require -- and indeed
       rejected -- the notion that the three Branches must be entirely separate and distinct.

Mistretta v. United States, 488 U.S. at 380. Thus, “the greatest security against tyranny -- the

accumulation of excessive authority in a single Branch -- lies not in a hermetic division among the

Branches, but in a carefully crafted system of checked and balanced power within each Branch.”

Id. at 381. The Supreme Court noted that it has “recognized the particular danger of the Legislative

Branch’s accreting to itself judicial or executive power,” but “[b]y the same token, . . . have upheld


                                                 -30-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 31 of 65




statutory provisions that to some degree commingle the functions of the Branches, but that pose no

danger of either aggrandizement or encroachment.” Id. at 382 (citing Morrison v. Olson, 487 U.S.

833 (1988)). Further, “[i]n cases specifically involving the Judicial Branch, we have expressed our

vigilance against two dangers: [(i)] that the Judicial Branch neither be assigned nor allowed tasks

that are more properly accomplished by [other] branches, and, [(ii)] that no provision of law

impermissibly threatens the institutional integrity of the Judicial Branch.” Mistretta v. United

States, 488 U.S. at 383 (internal citations and quotations omitted). The Supreme Court ultimately

found the Sentencing Commission constitutional. See id. at 384. See also Young v. United States

ex rel. Vuitton et Fils, 481 U.S. 787, 800-801 (1987)(explaining that courts have authority to appoint

a private prosecutor for contempt proceedings because, “[w]hile contempt proceedings are

sufficiently criminal in nature to warrant the imposition of many procedural protections, their

fundamental purpose is to preserve respect for the judicial system itself. As a result, courts have long

had, and must continue to have, the authority to appoint private attorneys to initiate such

proceedings when the need arises.”).

       3.      Executive Branch Powers and Functions.

         Article II, Section 1, Clause 1, of the United States Constitution provides that “[t]he

executive Power shall be vested in a President of the United States of America.” U.S. Const. art.

II, § 1, cl. 1. As the Supreme Court stated in Nixon v. Fitzgerald, 457 U.S. 731 (1982): “[The

President is] entrusted with supervisory and policy responsibilities of utmost discretion and

sensitivity. These include the enforcement of federal law -- it is the President who is charged

constitutionally to ‘take Care that the Laws be faithfully executed’. . . .” Id. at 750 (quoting U.S.

Const. art. II, § 3). “[T]he President’s constitutionally assigned duties include complete control

over investigation and prosecution of violations of the law, and that the inexorable command in

                                                 -31-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 32 of 65




Article II is clear and definite: the executive power must be vested in the President of the United

States.” Morrison v. Olson, 487 U.S. at 710 (Scalia, J., dissenting).

        The Constitution thus endows the President with the immense power to initiate criminal

proceedings against individuals that may deprive them of life, liberty, and property. See U.S. Const.

art. II, § 3 (stating that the President “shall take Care that the Laws be faithfully executed.”). It is

without question that governmental investigation and prosecution of crime is a quintessentially

executive function. See Heckler v. Chaney, 470 U.S. 821, 832 (1985)(noting that “the decision of

a prosecutor in the Executive Branch not to indict . . . [is] a decision which has long been regarded

as the special province of the Executive Branch, inasmuch as it is the Executive who is charged by

the Constitution to take Care that the Laws be faithfully executed.”)(internal quotations omitted);

Buckley v. Valeo, 424 U.S. 1, 138-40 (1976)(“The Commission's enforcement power, exemplified

by its discretionary power to seek judicial relief, is authority that cannot possibly be regarded as

merely in aid of the legislative function of Congress . . . . and it is to the President, and not to the

Congress, that the Constitution entrusts the responsibility to take Care that the Laws be faithfully

executed.”); United States v. Nixon, 418 U.S. 683, 693 (1974)(explaining that, “the Executive

Branch has exclusive authority and absolute discretion to decide whether to prosecute a case . . . .”).

       LAW REGARDING CONSTITUTIONAL CHALLENGES TO JUDICIALLY
                APPOINTED UNITED STATES ATTORNEYS

        The courts that have examined the issues Moreau raises have uniformly rejected the

challengers’ arguments. Indeed, it is difficult to find a single judge that has agreed with Moreau’s

arguments. On the other hand, the Court does not believe that Moreau’s concerns lack any merit.

        1.      United States Attorneys as “Inferior” Officers.

        The Supreme Court has not directly addressed the issue of judicially appointed United States


                                                 -32-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 33 of 65




Attorneys. The Supreme Court has come close, however, to saying that United States Attorneys are

“inferior” officers. Myers v. United States, 272 U.S. 52, 159 (1926)(stating that “[f]inally, Parsons'

Case, where it was the point in judgment, conclusively establishes for this court that the legislative

decision of 1789 applied to a United States attorney, an inferior officer.”)(citing Parsons v. United

States, 167 U.S. 342 (1895)). In Myers v. United States, the question presented to the Supreme

Court was “whether under the Constitution the President has the exclusive power of removing

executive officers of the United States whom he has appointed by and with the advice and consent

of the Senate.” Id. at 106. In that context, the Supreme Court noted that a legislative decision of

1789, a “declaration that the power to remove officers appointed by the President and the Senate

vested in the President alone,” id. at 114, “applied to a United States attorney, an inferior officer,”

id. at 159.

        In Parsons v. United States, the question was “whether the president of the United States has

power to remove a district attorney, who has been duly appointed, when such removal occurs within

the period of four years from the date of his appointment, and to appoint a successor to that officer

by and with the advice and consent of the senate.” 167 U.S. at 327. The Supreme Court quoted the

Attorney General from 1847:

        No one over thought of maintaining that the inferior offices, so called in the
        constitution, should be held during life. The doubt which arose was whether the
        concurrence of the senate was not requisite to effect a removal in all cases where it
        is required to consummate the appointment. The power was finally affirmed to be in
        the president alone, by a majority of both houses of congress, after great deliberation,
        and, perhaps, one of the ablest discussions in the history of the country.

Parsons v. United States, 167 U.S. at 332. The Supreme Court then explained why United States

Attorneys are removable by the President:

        By section 35, c. 20, Laws 1789, entitled “An act to establish the judicial courts of
        the United States,” it was provided, among other things, as follows: “And there shall

                                                 -33-
       Case 1:07-cr-00388-JB          Document 219          Filed 04/03/08       Page 34 of 65




       be appointed in each district a meet person learned in the law to act as attorney for
       the United States in such district, who shall be sworn or affirmed to the faithful
       execution of his office, whose duty it shall be to prosecute in such district all
       delinquents,” etc. 1 Stat. 73, 92. No provision was made in the act for the removal
       of such officer.

       ****

       The provision for a removal from office at pleasure was not necessary for the
       exercise of that power by the president, because of the fact that he was then regarded
       as being clothed with such power in any event. Considering the construction of the
       constitution in this regard as given by the congress of 1789, and having in mind the
       constant and uniform practice of the government in harmony with such construction,
       we must construe this act as providing absolutely for the expiration of the term of
       office at the end of four years, and not as giving a term that shall last at all events for
       that time, and we think the provision that the officials were removable from office
       at pleasure was but a recognition of the construction thus almost universally adhered
       to and acquiesced in as to the power of the president to remove.

Id. at 338-39.

       The Supreme Court’s analysis in Morrison v. Olson, however, informs much of the recent

caselaw that has addressed the issue of judicially appointed United States Attorneys. The Supreme

Court noted: "Lower courts have also upheld interim judicial appointments of United States

Attorneys . . . and Congress itself has vested the power to make these interim appointments in the

district courts.” Morrison v. Olson, 487 U.S. at 677 (citing 28 U.S.C. § 546(d)).

       2.        Tenth Circuit Law on this Issue.

       The United States Court of Appeals for the Tenth Circuit has not addressed the issue of

judicially appointed United States Attorneys. The Tenth Circuit has, however, addressed the

separation-of-powers doctrine and the Appointments Clause. The Tenth Circuit has rejected an

argument “that the power of the SEC to commence a civil enforcement action in federal court is in

violation of the separation of powers principle.” SEC v. Blinder, Robinson & Co.,Inc., 855 F.3d

677, 681 (10th Cir. 1988).


                                                  -34-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08       Page 35 of 65




       The Tenth Circuit in SEC v. Blinder, Robinson & Co.,Inc. made several conclusions

regarding the SEC:

       First, as the President has the power to choose the chairman of the SEC from its
       commissioners to serve an indefinite term, it follows that the chairman serves at the
       pleasure of the President. Second, as the chairman controls key personnel, internal
       organization, and the expenditure of funds, the chairman exerts far more control than
       his one vote would seem to indicate. Third, it can safely be assumed that in
       exercising his power of appointment, even as to commissioners who are not
       members of his party, the President will tend to appoint those persons who are
       sympathetic to his own views.

Id. The Tenth Circuit explained that “[i]t is a matter of fundamental law that the Constitution

assigns to Congress the power to designate duties of particular officers.” Id. at 682. “The President

is not obligated under the Constitution to exercise absolute control over our government executives.

The President is not required to execute the laws; he is required to take care they be executed

faithfully.” Id. The Tenth Circuit concluded that, because the President has the power to appoint

the SEC commissioners, choose the chairman of the SEC, who serves at the President’s pleasure,

and the power to remove the chairman, the President exercises sufficient control “and the removal

restrictions do not impede the President’s ability to perform his constitutional duty.” Id. See In re

Investment Bankers, Inc., 4 F.3d 1556, 1562-63 (10th Cir. 1993)(rejecting the argument that

appointment of bankruptcy judges violates the Appointments Clause, because there was no

impermissible intrusion on the President’s appointment power and thus, no encroachment on

separation-of-powers principles.).

       3.      Law from Other Jurisdictions.

       The challenged statute has withstood considerable constitutional scrutiny.               Other

jurisdictions have held that a United States Attorney is an “inferior” officer and that the appointment

of a United States Attorney by the judiciary is not unconstitutional. See United States v. Sotomayor-


                                                 -35-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08       Page 36 of 65




Vasquez, 249 F.3d 1, 20 (1st Cir. 2001); United States v. Hilario, 218 F.3d at 21, 29; United States

v. Gantt, 179 F.3d 782, 788-89 (9th Cir. 1999); United States v. Solomon, 216 F.Supp. at 840-43.

Specifically, the lower courts have continued to find that United States Attorneys are inferior

officers and therefore their appointments by district court judges are constitutional under the

Appointments Clause, the separation-of-powers doctrine, and Article III of the Constitution.

        In United States v. Solomon, a defendant challenged the validity of the information charging

him based upon the appointment of the United States Attorney who signed it. See 216 F.Supp. at

836. The charge against the defendant

       was brought on by information (filed October 10, 1962), signed by Vincent L.
       Broderick, United States Attorney, who after the resignation of his former superior,
       Robert M. Morgenthau, was appointed by the judges of the United States District
       Court, Southern District of New York, by order dated September 5, 1962, as the
       interim United States Attorney, pursuant to the provisions of Section 506 of Title 28,
       United States Code.

 216 F.Supp. at 836. The language of 28 U.S.C. § 506 provided: "'The district court for a district

in which the office of United States attorney is vacant, may appoint a United States attorney to serve

until the vacancy is filled. The order of appointment shall be filed with the clerk of the court.'" Id.

(quoting 28 U.S.C. § 506).

       The defendant in United States v. Solomon argued that the information was invalid because

the district court judges’ appointment of Mr. Broderick was unconstitutional as violative of the

separation-of-powers doctrine. See 216 F.Supp. at 836. The district court held that the appointment

of the United States Attorney did not violate the United States Constitution and the separation-of-

powers doctrine. See id. at 840-43. The district court reasoned that the Constitution vests Congress

with the power to make appointments. See id. at 841 (citing U.S. Const. art. II, § 2, cl. 2). It found

that Congress implemented that constitutional clause by passing 28 U.S.C. § 506. See United States


                                                 -36-
       Case 1:07-cr-00388-JB         Document 219        Filed 04/03/08      Page 37 of 65




v. Solomon, 216 F.Supp. at 841. It reasoned that the Supreme Court rejected an argument that "no

power can be conferred upon the courts of the United States to appoint officers whose duties are not

connected with the judicial department of the government." Id. (discussing Ex parte Siebold, 100

U.S. 371 (1879)). The district court's decision was also based upon the "temporary nature" of the

judiciary's power to appoint, and "the exercise of the appointive power by the judiciary in no wise

binds the executive" because "the executive branch is free to choose another United States Attorney

at any time . . . ." United States v. Solomon, 216 F.Supp. at 842.   The District of Puerto Rico

appointed a United States Attorney in 1993, resulting in multiple opinions discussing the issue of

judicial appointment under 28 U.S.C. § 546(d). As explained by the First Circuit in United States

v. Hilario:

        Thus, when the United States Attorney for the District of Puerto Rico resigned in
        May of 1993, Attorney General Janet Reno appointed an Assistant United States
        Attorney (AUSA), Charles Fitzwilliams, to fill the resulting vacancy. Because the
        President failed to name a replacement within 120 days, Fitzwilliams' appointment
        lapsed and the position once again became vacant. On September 9, 1993, the judges
        of the United States District Court for the District of Puerto Rico responded to the
        exigency and appointed a career Justice Department lawyer, Guillermo Gil, as
        interim United States Attorney. Although more than six years have passed, the
        President has yet to nominate a United States Attorney. Thus, Gil continues to serve
        in an interim capacity.

218 F.3d at 21 (internal citations omitted). "As the length of Gil's tenure increased, criminal

defendants began to challenge his authority. Most of these challenges failed." Id. (citing United

States v. Torres-Rosa, 209 F.3d 4, 6 (1st Cir. 2000); United States v. Colon-Muñoz, 192 F.3d 210,

216 (1st Cir. 1999); United States v. Ruiz Rijo, 87 F.Supp.2d 69, 70-72 (D.P.R. 2000), aff’d sub

nom by United States v. Valdez-Santana, 279 F.3d 143 (1st Cir. 2002); United States v. Santana, 83

F.Supp.2d 224, 230-32 (D.P.R. 1999); United States v. Sosa, 78 F.Supp.2d 20, 21 (D.P.R. 1999);

United States v. Sotomayor-Vazquez, 69 F.Supp.2d at 296.


                                                -37-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 38 of 65




       In United States v. Sotomayor-Vazquez, the district court held that "United States Attorneys,

including interim United States Attorneys, are 'inferior' officers for Appointments Clause purposes."

69 F.Supp.2d at 291. The district court noted that "[t]he next conceivable challenge is that the

Appointments Clause bars judicial appointment of interim United States Attorneys." Id. The district

court found "this position to be patently unsupportable." Id. The district court noted that the

"authority . . . codified at 28 U.S.C. § 546(d) . . . alone would seem to answer the question." United

States v. Sotomayor-Vazquez, 69 F.Supp.2d at 291.

       The district court in United States v. Sotomayor-Vazquez explained that interbranch

appointments, "in which judicial officers appoint an executive official, are not inherently antithetical

to the Appointments Clause." Id. at 292. The district court noted that the potential conflict of

interest presented by having district courts appoint an interim United States Attorney was not an

issue. See id. It rejected the argument that judicial appointment of a United States Attorney under

28 U.S.C. § 546(d) would violate separation of powers, because it found "the President retains all

supervisory and removal controls over interim United States Attorneys" and that “the power to

make certain appointments does not, by its very essence, interfere or abrogate [judges' adjudicatory

role]." United States v. Sotomayor-Vazquez, 69 F.Supp.2d at 294. Lastly, the district court noted

that the history of appointment of interim United States Attorneys supported the constitutionality

of 28 U.S.C. § 546(d):

       In 1863, Congress began the practice at issue . . . by vesting the Circuit Justice with
       the authority to fill a vacancy in the office of United States Attorney until the
       President appointed a duly-qualified candidate. Thirty-six years later, Congress
       transferred the power to the district courts because the circuit justice is not always
       to be found in the circuit and time is wasted in ascertaining his whereabouts.

       ****

       The only change in the structure occurred in 1995 after the Attorney General

                                                 -38-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 39 of 65




        explicitly requested that the power to appoint interim United States Attorneys be
        transferred to his office. Congress' reaction was the enactment of the current section
        546(d) which vests the Attorney General with the power to appoint an interim United
        States Attorney subject to a one-hundred and twenty-day limitation, after which time
        the power is reserved to the district courts to make an interim appointment. Thus,
        section 546(d), in its current form performs a dual function: It ensures that a crucial
        Executive office is not permitted to be vacant while at the same time providing an
        incentive for the President to exercise his statutory power under 28 U.S.C. § 541.

United States v. Sotomayor-Vazquez, 69 F.Supp.2d at 295 (internal citations omitted). See United

States v. Hilario, 218 F.3d at 24-29 (holding that the United States Attorney appointed by the district

court judges of the District of Puerto Rico, who had held the office for six years at the time of the

challenge, did not violate the statutory scheme for United States Attorney appointments, that United

States Attorneys are inferior officers under the Appointments Clause, and that the appointment did

not violate separation of powers).

        In United States v. Santana, the United States District Court for the District of Puerto Rico

held that the judicial appointment of a United States Attorney by the district court judges of the

District of Puerto Rico under 28 U.S.C. § 546(d) was not unconstitutional. See 83 F.Supp. 2d at

231. The court reasoned that it did not violate the Appointments Clause nor the separation-of-

powers doctrine, because "section 546(d) is an essential analogue to the President's power to

appoint" and appointment powers under 28 U.S.C. § 546(d) "are permissive, and the President, with

the advice and consent of the Senate, at all times retains the power to essentially veto the judicially

selected interim U.S. Attorney and appoint someone of his choosing." Id. See United States v.

Sosa, 78 F.Supp.2d at 21-22 (noting that judicial appointment of United States Attorney "under

section 546(d) was functus officio, and [that the district courts have] had absolutely no oversight or

control over the U.S. Attorney's Office since that act . . . . The supervision of [the United States

Attorney's] position, as well as his tenure, lies entirely with the executive branch."). See also In re:


                                                 -39-
       Case 1:07-cr-00388-JB           Document 219       Filed 04/03/08      Page 40 of 65




President's Commission on Organized Crime Subpoena of Scarfo, 783 F.2d 370, 376 (3d Cir.

1986)(noting that "[f]lexibility in the power of appointment has persisted . . . . For example, in the

event of a vacancy, a district court may appoint an acting United States Attorney, an executive

officer, to serve until the President fills the office.")(citing 28 U.S.C. § 546); United States v.

Dehghani, No. 06-0168-01-CR-W-GAF, 2007 WL 1796219 at * 5 (W.D.Mo. June 20, 2007)(noting

that 28 U.S.C. § 546(d) has been deemed constitutional and "it seems settled that there is no

Constitutional defect with the employment of a method for appointing a United States Attorney

without the advice and consent of the Senate.")(citing United States v. Hilario, 218 F.3d at 24-29;

United States v. Solomon, 216 F.Supp. at 840-43); United States v. Cardarella, No.07-00007-02/03-

CR-W-FJG, 2007 WL 1545849 at *4 (W.D.Mo. May 29, 2007)(same); Commonwealth of the

Northern Mariana Islands v. Yi Xiou Zhen, No. CRIM 99-338-D, 2002 WL 32983879 at *8-10

(N.Mar.I. Feb. 26, 2002)(rejecting defendant's contention that her conviction was invalid because

it was commenced by an Acting Attorney General who had not been confirmed by the Senate)(citing

United States v. Whitehead, 200 F.3d 634, 641 (9th Cir. 2000) and United States v. Gantt, 194 F.3d

at 998).

        In United States v. Torres-Rosa, 209 F.3d 4 (1st Cir. 2000), a defendant contended that the

indictment against him should have been dismissed because the judicially appointed United States

Attorney had continued to serve in that capacity for upwards of six years. See id. at 6. The

defendant argued that he was "adopt[ing] the reasoning and authorities set forth by the parties in

other cases where the same, identical issue has been recently raised.") Id. at 6 (internal quotations

omitted). The First Circuit refused to consider the defendant's argument because "[h]is lackadaisical

attempt to incorporate by reference others' arguments thus did not adequately develop the status

issue as it pertains to his appeal." Id. at 7.

                                                 -40-
       Case 1:07-cr-00388-JB         Document 219        Filed 04/03/08      Page 41 of 65




       In United States v. Luciano Del Rosario, 90 F.Supp.2d 171 (D.P.R. 2000), the defendant

moved to dismiss his indictment, contending that it was defective because the judicially appointed

United States Attorney for the District of Puerto Rico was unconstitutional. See id. at 172. The

defendant contended that the appointment violated the Appointments Clause, separation of powers,

and congressional intent in enacting 28 U.S.C. §§ 541 (1966) and 546 (1986), and that the district

court lacked subject-matter jurisdiction. See United States v. Luciano Del Rosario, 90 F.Supp.2d

at 172. The court rejected the defendant's argument. See id. at 174 (citing United States v.

Sotomayor-Vazquez, 69 F.2d at 288-92). The court also rejected the defendant's argument that "it

is 'incongruous' for the judiciary to appoint interim United States Attorneys because judges would

be adopting a stance that is inapposite with their obligations of impartiality." United States v.

Luciano Del Rosario, 90 F.Supp.2d at 174 (citing United States v. Sotomayor-Vazquez, 69 F.2d at

292-95). The court did not reach the issue whether the district court would lack subject-matter

jurisdiction because it held the interim appointment constitutional. See United States v. Luciano Del

Rosario, 90 F.Supp.2d at 175.

       In rejecting Appointments-Clause arguments nearly identical to the one Moreau makes here,

both the United States Court of Appeals for the Ninth Circuit in United States v. Gantt, 194 F.3d at

998-1000, and the First Circuit in United States v. Hilario, 218 F.3d at 24-26, have held that United

States Attorneys and, specifically, judicially appointed United States Attorneys, are “inferior”

officers under the Appointments Clause. In United States v. Hilario, the First Circuit stated:

       They are subject to much closer supervision by superiors than, say, the judges of the
       Coast Guard Court of Criminal Appeals, whom the Edmond Court classified as
       inferior officers “by reason of the supervision [of others] over their work.” 520 U.S.
       at 666, 117 S.Ct. 1573. . . .Under so pervasive a supervisory regime, United States
       Attorneys plainly pass the Edmond test. Accord Gantt, 194 F.3d at 999-1000.

United States v. Hilario, 218 F.3d at 25. As for the separation-of-powers argument, the First Circuit

                                                -41-
       Case 1:07-cr-00388-JB          Document 219          Filed 04/03/08      Page 42 of 65




interpreted the language from Mistretta v. United States to mean that courts must engage in a

“bifurcated inquiry”:

        [i] we must ask whether Congress, in vesting the powers to appoint interim United
        States Attorneys in the district court, conferred upon the judges a power that usurped
        the prerogatives of another branch of government and, thus, “effected an
        unconstitutional accumulation of power within the Judicial Branch.” [Mistretta v.
        United States, 488 U.S.] at 383. . . . [ii], we must ask whether the exercise of the
        power to appoint someone somehow impedes the proper functioning of the Judicial
        Branch. See id.

United States v. Hilario, 218 F.3d at 27.

        As to the first question, the First Circuit in United States v. Hilario stated: “[O]ur system of

government rests on the assumption that officers can be independent of their appointers.” Id. at 27.

“Were this not so, all interbranch appointments would be barred.”                 Id.   “Under [these]

circumstances, it is unreasonable to think that merely making an interim appointment impermissibly

entangles judges in the functioning of the Executive Branch.” Id.

        The First Circuit in United States v. Hilario stated that, notwithstanding the judicial

appointment, “insofar as interim United States Attorneys are concerned, the Executive Branch holds

all the trump cards . . . [as t]hese features make it crystal clear that the district court’s appointment

of an interim United States Attorney is not an unconstitutional encroachment on executive

authority.” Id. at 27-28. “[T]he Supreme Court has indicated in straightforward terms that having

judges appoint prosecutors will not, in and of itself, impugn the judiciary’s institutional integrity.”

Id. at 28. The First Circuit concluded that the judicial appointment of United States Attorneys is not

“incompatible with judicial functions.” Id. at 28 (citing Morrison v. Olson, 487 U.S. at 676-77).

The First Circuit commented that “the appointment of defense counsel for indigent criminal

defendants would seem to be a necessary step for judges to take in order to provide for fair process.

That rationale applies to the appointment of interim United States Attorneys with equal force.”

                                                  -42-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08       Page 43 of 65




United States v. Hilario, 218 F.3d at 28-29.

        The First Circuit in United States v. Hilario explained that, far from impeding the proper

functioning of the Judicial Branch, “[i]t is in keeping with preserving the institutional integrity of

the judiciary that judges, faced with an indefinite vacancy in the office of United States Attorney,

seek out a . . . lawyer to represent the government.” Id. at 29. The First Circuit stated that, in the

absence of Executive Branch action, the court’s exercise of the appointment power “assists the

functioning of the court: at bottom, it assures the skillful processing of cases in which the United

States is a party.” Id. at 29. The First Circuit reasoned that

        just as judicial appointment of defense counsel has not fostered the belief that courts
        are biased in favor of either the lawyers whom they appoint or the criminal
        defendants whom those lawyers represent, so too judicial appointment of a
        prosecutor is unlikely to foster the belief that the court is biased in favor of the
        government.

Id. at 29.

        In United States v. Gantt, the defendant argued that a certification under 18 U.S.C. § 3731

was invalid because the current United States Attorney for the Southern District of California was

appointed by the judges of that district under 28 U.S.C. § 546(d). See 194 F.3d at 998. The Ninth

Circuit began by noting that the alleged constitutional infirmity in § 546(d) "would not affect the

validity of indictments . . . as indictments need only be signed by an attorney for the government."

Id. (citing Fed. R. Crim. P. 7(c)(1)). The Ninth Circuit also held that such an appointment does not

violate the Appointments Clause, because United States Attorneys are inferior officers. See United

States v. Gantt, 194 F.3d at 999. The Ninth Circuit further noted that the Supreme Court cited 28

U.S.C. § 546(d) "in support of the proposition that judicial appointment of prosecutors does not

necessarily create an incongruity." United States v. Gantt, 194 F.3d at 1000 (citing Morrison v.

Olson, 487 U.S. at 676-77). See United States v. Whitehead, 200 F.3d at 641 (rejecting the

                                                 -43-
       Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 44 of 65




defendant's argument that the district court lacked jurisdiction over his case because the interim

appointment of the United States Attorney for the Southern District of California by the judges of

the district court pursuant to 28 U.S.C. § 546(d) violated the Appointments Clause of the United

States Constitution)(citing United States v. Gantt, 194 F.3d at 998-1000).

       The United States Court of Appeals for the Eleventh Circuit has rejected a defendant's

contention that his conviction was infirm because he was tried by an Assistant United States

Attorney acting under the authorization or supervision of a judicially appointed United States

Attorney appointed by a district court in the Southern District of Florida. See United States v.

Suescun, 237 F.3d 1284, 1285, 1287 (11th Cir. 2001).         "A district court lacks jurisdiction to

entertain a criminal case if it appears that the Government lacked power to prosecute the defendant."

Id. at 1287 (internal quotations omitted). "An appointment of a United States Attorney that is not

made as provided by the Appointments Clause does not affect the Government's power to

prosecute." Id.

       In United States v. Ruiz-Rijo, the District of Puerto Rico noted that, even assuming that an

appointment of a judicially appointed United States Attorney was unconstitutional, "Defendant's

remedy would not be the dismissal of his indictment, for the appointment does not affect

Defendant's basic constitutional rights" and noting that Federal Rules of Criminal Procedure 7(c)(1)

and 54(c) "provide that a criminal indictment signed by an assistant United States Attorney is valid."

87 F.Supp.2d at 71. See United States v. Santana, 83 F.Supp.2d at 232 (rejecting the defendant's

contention that the district court lacked subject-matter jurisdiction, because it found the interim

appointment of a United States Attorney under 28 U.S.C. § 546(d) constitutional); United States v.

Kouri-Perez, 47 F.Supp.2d 164, 166 (D.P.R. 1999)(rejecting the defendants' contention that their

indictment was legally flawed because only Assistant United States Attorneys had signed it stating

                                                -44-
       Case 1:07-cr-00388-JB         Document 219        Filed 04/03/08      Page 45 of 65




that, under rule 54(c) of the Federal Rules of Criminal Procedure, an indictment need only be signed

by an "attorney[ ] for the government."). See also In re Application of President’s Comm’r on

Organized Crime, 763 F.2d 1191, 1196-97 (11th Cir. 1985)(holding federal judges could not sit on

advisory panel investigating organized crime because imposition of powers interfered with their

ability to perform their constitutionally delegated duties because it would necessarily impair their

impartiality).

       Recently, the Honorable Bruce D. Black, United States District Judge for the District of New

Mexico, issued a Memorandum Opinion and Order on a defendant’s motion raising issues similar

to those that Moreau raises in this case. See Memorandum Opinion and Order Denying Motion to

Dismiss, filed February 29, 2008 (Doc. 62) in United States v. Rose, No. CR07-2145 (D.N.M.

2008)(“Rose Order”). Judge Black explained that “[t]he proper question, then, is not whether the

United States Attorney is a member of the executive or judicial branch. The issue is whether the law

being challenged is one that ‘prevents the Executive Branch from accomplishing its constitutionally

assigned functions.’” Id. at 6 (quoting Nixon v. Administrator, 433 U.S. 425, 443 (1977)). Judge

Black concluded that “nothing in Section 546(d) confers upon district judges any supervisory power

over an interim United States Attorney after his appointment.” Rose Order at 7. “Rather, this

supervision plainly remains in the Executive Branch where it has resided for more than a century.”

Id. Moreover, “[n]othing in the plain language of Section 546(d) grants the district court any power

to infringe upon the President’s prerogative and remove an interim United States Attorney after he

is appointed.” Rose Order at 8. Judge Black concluded: “Even if Mr. Fouratt’s appointment was

invalid, an appointment of a United States Attorney that is not made as provided by the

Appointments Clause does not affect the Government’s power to prosecute. . . . [T]herefore, this

Court could not dismiss the indictment on that basis.” Id. at 14 (internal quotations omitted).

                                               -45-
       Case 1:07-cr-00388-JB         Document 219          Filed 04/03/08      Page 46 of 65




           LAW REGARDING CONSTRUCTION OF CONGRESSIONAL
        STATUTES IN CASES CHALLENGING THEIR CONSTITUTIONALITY

       “[I]t is the duty of federal courts to construe a statute in order to save it from constitutional

infirmities.” Morrison v. Olson, 487 U.S. at 682 (citations omitted). “[T]he constitutional

avoidance doctrine counsels us to adopt constructions of statutes to avoid decision of constitutional

questions, not to deliberately create constitutional questions.” McConnell v. Federal Election

Comm’n, 540 U.S. 93, 280 n.12 (2003)(internal quotations omitted). “[T]he elementary rule is that

every reasonable construction must be resorted to, in order to save a statute from

unconstitutionality.” Gonzales v. Carhart, --- U.S. ---, 127 S.Ct. 1610, 1631 (2007)(internal

quotations omitted). “The canon of constitutional avoidance . . . comes into play only when, after

the application of ordinary textual analysis, the statute is found to be susceptible of more than one

construction; and the canon functions as a means of choosing between them.” Spector v. Norwegian

Cruise Line Ltd., 545 U.S. 119, 140 (2005)(internal quotations omitted).

                                            ANALYSIS

       Moreau asserts that 28 U.S.C. § 546(d) is facially unconstitutional. Moreau argues that Mr.

Fouratt’s appointment violated the Appointments Clause, Article II, Section 2, Clause 2 of the

United States Constitution, because the United States District Court for the District of New Mexico,

not the Attorney General, ultimately supervises Mr. Fouratt.           Moreau also asserts that the

appointment of Mr. Fouratt violates the separation-of-powers doctrine set forth in the first three

Articles of the United States Constitution.       Moreau contends that, because there is not a

constitutionally appointed United States Attorney whose authority flows from the Executive Branch

of government, the continued prosecution of Moreau is constitutionally impermissible, and the Court

must dismiss the case without prejudice until a constitutionally valid United States Attorney is


                                                 -46-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 47 of 65




appointed.

I.     THE COURT NEED NOT OPINE ON THE WISDOM OF § 546(d).

        The issues before the Court are sui generis in that the judiciary appoints no other member

of the Executive Branch, and the value of past precedent is limited. The courts could thus declare

this unique statute unconstitutional without effecting broad areas of the law. Nevertheless, the

Court’s obligation is to address this unique situation as carefully and throughly as necessary to

address Moreau’s challenges.

        It is important to note the limits of the Court’s decision. The Court need not, and should not,

opine on the soundness of § 546(d). Nor does the Court need to discuss the wisdom of the United

States District Court for the District of New Mexico’s decision to exercise its discretion under §

546(d). For a court to say that a statute or action may be constitutional is no compliment. “[T]o call

a statute constitutional is no more of a compliment than it is to say that it is not intolerable. In the

eyes of the Court, constitutionality is as low a standard of legislative and political morals as we

could have, and yet have any at all.” C. Curtis, A Modern Supreme Court in a Modern World, 4

Vand. L. Rev. 427, 433 (1951).

        The Court’s narrow task is to find whether § 546(d) is constitutional against the

constitutional challenges that Moreau makes. It is sufficient for the Court to say that, given the

limited arguments that Moreau raises, the Court cannot say that § 546(d) is unconstitutional.

II.    THERE IS NO SOUND BASIS FOR DISMISSING A VALIDLY OBTAINED
       INDICTMENT AGAINST MOREAU.

        Moreau seeks dismissal of the indictment on the grounds that there is no constitutionally

appointed United States Attorney for the District of New Mexico. Moreau does not explain why the

alleged infirmity in Mr. Fouratt’s appointment should entitle a defendant in his position to this


                                                 -47-
      Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08      Page 48 of 65




remedy. The indictment against Moreau was filed before Mr. Fouratt’s appointment as United

States Attorney and was signed by an Assistant United States Attorney. See Indictment, filed

November 6, 2007 (Doc. 1); Administrative Order (dated January 25, 2008), available at

http://www.nmcourt.fed.us/web/DCDOCS/dcindex.html.

       Moreau offers no explanation why the Court should dismiss a validly obtained indictment,

filed during the tenure of a duly appointed United States Attorney and signed by an Assistant United

States Attorney, if the Court defectively appoints a subsequent United States Attorney. As the Ninth

Circuit noted in United States v. Gantt, “[t]he constitutionality of Section 546(d) would not affect

the validity of indictments . . . as indictments need only be signed by an attorney for the

government.” United States v. Gantt, 194 F.3d at 998 (citing Fed. R. Crim. P. 7(c)(1)). Moreau has

described no cognizable injury from the Court’s appointment of Mr. Fouratt. Moreau has provided

no meaningful legal discussion why, assuming that the United States Attorney’s appointment was

invalid, he should be entitled to any remedy at all. The constitutionality of an appointment under

§ 546(d) has no bearing upon the validity of an indictment against him. Assuming that the

appointment of an interim United States Attorney, pursuant to § 546(d) violated the Constitution,

indictments filed during the tenure of the appointee would still be valid if an authorized Assistant

United States Attorney signed them.

       Neither would a defect in the appointment of a United States Attorney divest the Court of

jurisdiction to hear this case. See United States v. Suescun, 237 F.3d at 1287 (11th Cir.

2001)(explaining that “[a]n appointment of a United States Attorney that is not made as provided

by the Appointments Clause does not affect the Government's power to prosecute."). Accordingly,

the Court will reject Moreau’s implicit argument that a defect in the appointment of the United

States Attorney would extinguish the United States’ power to prosecute this case. The Court will,

                                               -48-
       Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 49 of 65




regardless of how -- or if -- it rules on the constitutional issues, deny the motion to dismiss the

indictment.

       The threshold issue is thus whether the Court should even address Moreau’s constitutional

issues given that it will not dismiss the valid indictment against him. The Supreme Court has

repeatedly cautioned that the federal courts should not give advisory opinions and should avoid

constitutional issues if the decision can rest on non-constitutional grounds. The question is whether,

given that the indictment against Moreau is valid, it is necessary to determine whether a majority

of judges in the District of New Mexico constitutionally appointed Mr. Fouratt.

       The Court notes that the Honorable M. Christina Armijo, United States District Judge for the

District of New Mexico, recently issued a Memorandum Opinion and Order on a defendant’s motion

raising issues similar to those that Moreau raises in this case. See Memorandum Opinion and Order,

filed February 15, 2008 (Doc. 130) in United States v. Tafoya, No. CR07-697 (D.N.M.)(Armijo,

J.)(“Tafoya Order”). In United States v. Tafoya, the defendant’s motion was untimely under rule

12(e) of the Federal Rules of Criminal Procedure. See id. at 3. Judge Armijo alternatively

concluded that the defendant had “not demonstrated grounds for mounting a facial challenge to the

constitutionality of the Court’s statutory appointment power under 28 U.S.C. § 546(d).” Tafoya

Order at 3. Judge Armijo explained: “The mere possibility that a court’s exercise of the appointment

power under 28 U.S.C. § 546(d) might operate in violation of the Constitution or to the detriment

of a criminal defendant under some conceivable set of circumstances is insufficient to render a

statute wholly invalid.” Tafoya Order at 3. Judge Armijo also rejected the defendant’s “as applied”

challenge to 28 U.S.C. § 546(d)’s constitutionality, because “Mr. Fouratt was not acting as the

United States Attorney at the time the Superceding Indictment was filed in this case, nor did he sign

that document or file any motions in this case while acting in his former capacity as an Assistant

                                                -49-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 50 of 65




United States Attorney.” Tafoya Order at 4 (emphasis in original). Judge Armijo did not address

the merits of that defendant’s constitutional claims because:

       Determining whether the statute or Administrative Order at issue in this case is
       unconstitutional would not serve to redress Defendant’s alleged injuries, because
       such a ruling would not require the dismissal of the Superceding Indictment, nor
       would it serve to redress Defendant’s alleged injuries, because such a ruling would
       not require the dismissal of the Superceding Indictment, nor would it preclude the
       duly appointed Assistant United States Attorneys from taking the case to trial.

Id. at 5 (emphasis in original).

        The Court believes that the only reason it may be necessary to decide the constitutional

issues is to resolve whether Mr. Fouratt can participate in the cases in his office as the United States

Attorney and, specifically, whether he can personally prosecute the case against Moreau as United

States Attorney. There is little evidence that Mr. Fouratt is actively participating in this case, but

there is some. Moreau has noted that, since Mr. Fouratt has been appointed, a plea has been taken

off of the table by the United States, the witness list has changed, and additional counsel has been

assigned to prosecute his case. See Tr. at 10:23-25 (Winterbottom). Moreau has argued that Mr.

Fouratt has decided to “at least double his office’s resources in [Moreau’s] prosecution.” Id. at 11:9-

10 (Winterbottom).

       The Court believes that the only reason it may be necessary to decide the constitutional

issues is to resolve whether Mr. Fouratt can participate in the cases in his office as the United States

Attorney and, specifically, whether he can personally prosecute the case against Moreau as United

States Attorney. There is little evidence that Mr. Fouratt is actively participating in this case, but

there is some. Mr. Fouratt appears on the response to Moreau’s motion. See United States’

Response to Motion to Dismiss Indictment on the Basis that the Current United States Attorney has

been Unconstitutionally Appointed at 23, filed February 13, 2008 (Doc. 176)(stating: “Respectfully


                                                 -50-
       Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 51 of 65




submitted, GREGORY J. FOURATT, United States Attorney”); United States’ Second Amended

Witness List at 1, filed March 9, 2008 (Doc. 187)(stating: “Respectfully submitted, GREGORY J.

FOURATT, United States Attorney”); United States’ Amended Exhibit List at 1, filed March 9,

2008 (Doc. 188)(stating: “Respectfully submitted, GREGORY J. FOURATT, United States

Attorney”).

       Moreover, Mr. Fouratt did not recuse, excuse, withdraw, shield, or abstain in any way from

participating in this case. Indeed, Moreau argues that Mr. Fouratt has made important decisions,

including expending more of the United States’ resources in his prosecution. See Tr. at 11:9-10

(Winterbottom). While the remedy for any constitutional violation in this case is not dismissal of

the indictment and remains somewhat unclear, the Court concludes that the constitutional issues

remain live and that its decision on the constitutional issues would not be theoretical or merely

advisory. Moreover, neither party suggests that the Court does not need to decide the constitutional

issues. The Court also notes that the other courts, including the Supreme Court in similar situations,

have decided these issues. Thus, because Mr. Fouratt appears to be participating in this case as

United States Attorney, and because Moreau does not want Mr. Fouratt to prosecute him as United

States Attorney, it appears necessary for the Court to decide the constitutional challenges that

Moreau has raised.

III.   THE APPOINTMENT DOES NOT VIOLATE THE APPOINTMENTS CLAUSE.

       Moreau contends that § 546(d) is in direct conflict with Article II, Section 1, Clause 1 of the

United States Constitution. Moreau thus argues that Mr. Fouratt’s appointment violates the

Appointments Clause. Moreau requests that, because he is being prosecuted by a United States

Attorney who has been unconstitutionally appointed, the Court dismiss his current indictment

without prejudice.

                                                -51-
        Case 1:07-cr-00388-JB         Document 219        Filed 04/03/08       Page 52 of 65




        A.     A UNITED STATES ATTORNEY IS AN “INFERIOR” OFFICER.

        If United States Attorneys are regarded as “principal” officers under the Constitution, then

the only method for appointment is through nomination by the President and confirmation by the

Senate. U.S. Const. art II, §2, cl. 2; Buckley v. Valeo, 424 U.S. at 132. Under the standard that the

Supreme Court set forth in Edmond v. United States, there is a fair basis to find that the United

States Attorney is an “inferior” officer. The Supreme Court in Edmond v. United States defined an

“inferior” officer as one “whose work is directed and supervised at some level by others who were

appointed by Presidential nomination with the advice and consent of the Senate.” 520 U.S. at 662-

63. The Court concludes that the Attorney General and the President maintain control over the

United States Attorneys, regardless how they are appointed.

        Moreau’s Appointments-Clause argument is premised on the factual assertion that, because

Mr. Fouratt is a judicially appointed United States Attorney, the Court supervises him. Moreau’s

legal arguments appear to flow, however, from a flawed understanding of how the statutes governing

United States Attorneys work. Moreau’s argument that Mr. Fouratt is now accountable to the

District Court of the District of New Mexico does not accurately characterize the relationship

between the Court and Mr. Fouratt, or the Court and the United States Attorney’s Office.

        Moreau contends that 28 U.S.C. § 546(d) eviscerates Executive Branch authority and action,

because a judicially accountable official has been trusted with faithfully executing the law. In

actuality, however, Mr. Fouratt is not accountable to the United States District Court for the District

of New Mexico any more than any other lawyer, save for the fact that all attorneys of the

Department of Justice owe the courts and the public a special obligation to ensure that justice is

done.

        In light of the President’s sole power of removal, see 28 U.S.C. § 541(c), and the Attorney

                                                 -52-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 53 of 65




General’s pervasive supervisory authority over United States Attorneys, it does not appear that §

546(d) is weighted with the freight that Moreau contends dooms the statute’s constitutionality.

Moreau asks the Court to read more into the statute than is there. Rather than reading into or adding

things that are not in the statute to render it unconstitutional, the Court should read the statute in a

way, if at all possible, that upholds the statute’s constitutionality. Moreover, while the Court does

not believe that the statute is “ susceptible of more than one construction,” Spector v. Norwegian

Cruise Line Ltd., 545 U.S. at 140, even if it were, “the elementary rule is that every reasonable

construction must be resorted to, in order to save a statute from unconstitutionality,” Gonzales v.

Carhart, 127 S.Ct. at 1631.

       Moreau argues that Mr. Fouratt “in essence is accountable to the Article III judges who

constitute the United States District Court for the District of New Mexico.” Motion at 2. Moreau

also suggests that the Attorney General’s controls are “administrative” not substantive. Tr. at 10:6-

11 (Winterbottom). Nothing in § 546(d), however, confers upon district judges any supervisory

power over a judicially appointed United States Attorney after his appointment. Rather, the

pervasive controls of the President and the Attorney General remain over a judicially appointed

United States Attorney just as they have over other United States Attorneys and as they have for

more than a century. Moreau cites no authority suggesting that § 546(d) shifts such controls to the

District Court, and the Court should not read the statutory provision in such a way that would raise

unnecessary constitutional issues. See McConnell v. Federal Election Comm’n, 540 U.S. at 280

n.12 (internal quotations omitted)(“[T]he constitutional avoidance doctrine counsels us to adopt

constructions of statutes to avoid decision of constitutional questions, not to deliberately create

constitutional questions.”).



                                                 -53-
       Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 54 of 65




       B.      MORRISON V. OLSON EFFECTIVELY                              FORECLOSES            ANY
               INCONGRUITY ARGUMENT.

       Moreau’s primary argument is that the judicial-appointment process of United States

Attorneys is incongruous with the constitutional function of the judiciary. The United States

acknowledges that, even if the United States Attorneys are “inferior” officers under the Constitution,

which other courts have held, the appointment of United States Attorneys by federal district judges

may yet be invalid under the Appointments Clause if the appointment is: (i) incongruous with

appropriate judicial activity; or (ii) violates separation-of-powers principles. See Motion at 12-15.

       Passages from Morrison v. Olson effectively foreclose any argument that the judicial

appointment of United States is “incongruous” under the Appointments Clause. But see Wiener,

supra at 442-46 (arguing, in the alternative, that 28 U.S.C. § 546 "is incongruous with appropriate

judicial activity" and "a function more naturally exercised by the executive-branch department to

which U.S. Attorneys belong.").        Moreau appears to recognize this problem, because he

acknowledges that the Supreme Court addressed an issue similar to his in Morrison v. Olson.

Nevertheless, he attempts to avoid Morrison v. Olson’s incongruity discussion by attempting to

distinguish the Supreme Court’s case.

       In Morrison, the judges of the special division were ineligible to participate in any
       matters relating to the independent counsel they appointed. In the instant case, the
       district judges cannot recuse themselves en mass from cases prosecuted by the
       United States Attorney whom they appointed. Therefore, the incongruity which was
       avoided in Morrison will continually plague prosecutions brought by Mr. Fouratt’s
       office pursuant to his current appointment.

Motion at 14-15 (emphasis in original).

       It is true that the factual circumstances in Morrison v. Olson are materially distinguishable

from those in this case in several important regards. First, in Morrison v. Olson, the judicially made

appointment was arguably necessary because an intrabranch conflict had arisen.              Here, no

                                                -54-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08       Page 55 of 65




intrabranch conflict existed before Mr. Fouratt’s appointment. Instead, the statute itself created, and

thus triggered, the opportunity to effectively replace the Attorney General’s interim United States

Attorney with a designee selected by the Article III judges who comprise the United States District

Court for the District of New Mexico. The District of New Mexico situation arguably lacked the

necessity or exigent circumstances that existed in Morrison v. Olson.

       While the Court shares Moreau’s observation that the judicial appointment of Mr. Fouratt

was not necessary, it does not, however, see Morrison v. Olson’s incongruity analysis turning on that

point. Many scholars, judges, and observers have also wondered how necessary it really has been

to appoint independent counsel. Thus, Moreau’s argument goes to the wisdom of § 546(d) and does

not appear to be a factor that is particularly relevant in the incongruity calculus.

       Similarly, unlike in Morrison v. Olson, the Attorney General did not request assistance from

the United States District Court for the District of New Mexico to select the chief federal law

enforcement officer for the state. Nonetheless, the United States District Court for the District of

New Mexico decided to select its designee, knowing that he would discharge Executive Power as

the United States Attorney for the District of New Mexico. This distinction appears to be one about

the proper means of choice, rather than the propriety of a delegation. Again, if the position is an

inferior office, the express language of the Appointments Clause gives Congress considerable

discretion in choosing the manner of appointment. See U.S. Const. Art. 2, § 2, cl. 3 (states that “the

Congress may by Law vest the Appointment of such inferior Officers, as they think proper, in the

President alone, in the Courts of Law, or in the Heads of Departments.”)(emphasis added).

       Finally, while in Morrison v. Olson the appointing judges were “ineligible to participate in

any matters relating to an independent counsel they have appointed,” 487 U.S. at 677, the opposite

is true in this case. Every case, even civil cases prosecuted or defended by the United States in the

                                                 -55-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 56 of 65




United States District Court for the District of New Mexico, come under Mr. Fouratt’s control,

direction, and supervision, and the cases will be heard and adjudicated before the judges who

appointed him.

       While the Court shares some concern with Moreau about the wisdom of having district

judges select an attorney appearing before it unless there is great necessity for the appointment, there

is nothing constitutionally incongruent with judicial functions under Article III about such

appointments. The Supreme Court and inferior courts often are called on to appoint attorneys to

advance positions, to defend criminal defendants, to represent witnesses, and to examine the

interests of minors. Such appointments are often made to improve the adversarial process, which

is so necessary for the proper operation of the American judicial system. While the appointing

judges must, of course, be careful that they do not spoil the adversarial process that they seek to

advance with a particular appointment, there is nothing incongruent with judicial functions in

appointing lawyers who will appear before the same judges.

       In conclusion, Moreau’s Appointments-Clause challenge to Mr. Fouratt’s appointment is

largely to the wisdom of Congress’ chosen means of filling the spot. While the Court shares some

concern about the wisdom of involving district judges in a personnel decision for an office within

the Executive Branch, and would not, at this time in the District’s and the Nation’s history, exercise

Congress’ invitation to appoint a United States Attorney to a position that the political branches have

not chosen to fill, the plain language of the Constitution gives Congress considerable discretion to

decide the means of appointment once it is determined that the office is an inferior office. The Court

should not upset Congress’ view with one of its own unless the means that Congress has chosen is

constitutionally incongruent with a court being a court. The Court cannot say that Moreau’s

concerns reach that high standard.

                                                 -56-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08       Page 57 of 65




IV.    THE APPOINTMENT DOES NOT VIOLATE THE SEPARATION-OF-POWERS
       DOCTRINE.

       Moreau asserts that 28 U.S.C. § 546(d), facially and as applied in this case, violates the

separation of powers and is patently unconstitutional. The Court agrees that there is separation-of-

powers tension inherent in a judicially appointed prosecutor. The question is whether those issues

rise to constitutional dimensions. The Court concludes that there is no separation-of-powers

doctrine violation.

       A.      THE COURT WILL EMPLOY THE SEPARATION-OF-POWERS TEST
               THAT THE FIRST CIRCUIT EMPLOYED IN UNITED STATES V.
               HILARIO.

       The Supreme Court in Morrison v. Olson anticipated that there might be situations where

the officer is “inferior,” but the delegation of the appointment power might still be unconstitutional,

and then provided some guidance on those constitutional issues. Accordingly, the holding in

Morrison v. Olson should not be recklessly expanded, and the inquiry cannot end upon a

determination of the Appointments-Clause issue alone. In other words, it is appropriate for Moreau

to raise, and for the Court to consider, whether the judicial appointment of a United States Attorney

violates the separation-of-powers doctrine.

       While the separation-of-powers doctrine has long roots in the nation’s federal constitutional

system, the test that the courts must employ to determine whether a particular action violates the

doctrine is unclear. Accordingly, the Court must carefully determine what test is consistent with

other Supreme Court cases, fashion its own test, or adopt one that other courts have used.

       Moreau has not dealt comprehensively with the decisions from other jurisdictions.

Specifically, Moreau has not fully dealt with the well-reasoned merits of decisions squarely on point

from the First and Ninth Circuits, which have both rejected his arguments. Moreau does not explain


                                                 -57-
       Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 58 of 65




why the Court should not use the separation-of-powers test that the First Circuit employed in United

States v. Hilario, which it distilled from Mistretta v. United States. The Court believes that the two

dangers that the Supreme Court identified in Mistretta v. United States provide more guidance as

to what the separation-of-powers analysis should be than Justice Scalia’s test in dissent in Morrison

v. Olson.

       The first issue is precisely what the test is for when “‘Congress has vested in the [judges]

powers that are more appropriately performed by other Branches . . . .’” United States v. Hilario,

218 F.3d at 26-27 (quoting Mistretta v. United States, 8 U.S. at 385). In one sense, the Supreme

Court’s general language could be read as an invitation for the Court to substitute its judgment for

that of Congress’, and decide that it is more appropriate for the Executive Branch to make this

appointment.    The Court believes that is a low standard for unconstitutionality, and that

“appropriately” must involve a higher standard to measure statutes’ constitutionality. Otherwise,

the Court would be reading out entirely the considerable discretion that the Appointment Clause’s

plain language gives to Congress when it is dealing with inferior offices. The Court agrees with the

First Circuit in United States v. Hilario that the standard is whether Congress is giving the Judicial

Branch so much power that this power threatens to upset the balance of power that the Framers

intended to keep separate and give to another branch. The First Circuit explained:

       [W]e must ask whether Congress, in vesting the power to appoint interim United
       States Attorneys in the district court, conferred upon the judges a power that usurped
       the prerogatives of another branch of government and, thus, “effected an
       unconstitutional accumulation of power within the Judicial Branch. It is not for the
       courts to determine the best or most efficient repository for a power of appointment
       vis-à-vis inferior officers. The Constitution specifies that the members of Congress
       should delegate the appointment power as they think proper. It follows, then, that
       Congress's choice always deserves appreciable deference.

United States v. Hilario, 218 F.3d at 27 (internal citations and quotations omitted).


                                                -58-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08      Page 59 of 65




       The second part of the language in United States v. Mistretta is concerned about the integrity

of the judicial branch. See 488 U.S. at 385. Again, the Court does not believe that the Supreme

Court in United States v. Mistretta was inviting courts to lightly replace their views for that of

Congress. The standard must be higher than a difference of opinion to result in overturning

Congress’ judgment and exercise of discretion under the Appointment Clause. The Court agrees

with the First Circuit’s assessment that the second part of the bifurcated inquiry in United States v.

Mistretta asks whether the power to appoint the United States Attorney impedes the proper

functioning of the Judicial Branch. See United States v. Hilario, 218 F.3d at 27 (“We must ask

whether the exercise of the power to appoint somehow impedes the proper functioning of the

Judicial Branch.”).

       Thus, the Court believes that the dangers identified in United States v. Mistretta provide the

best guidance for a separation-of-powers analysis. The Court also believes that the First Circuit in

United States v. Hilario has appropriately incorporated these dangers into a workable test for a

separation-of-powers analysis. Because the Court believes that the First Circuit’s test faithfully

reflects the Supreme Court’s concerns in United States v. Mistretta, the Court will, as an initial

matter, use that court’s analysis rather than Justice Scalia’s.

       B.      MOREAU FAILS TO SATISFY EITHER SIDE OF THE “BIFURCATED
               INQUIRY.”

       “Of course, section 546(d) cannot be said to violate the separation-of-powers principle

simply because it requires two branches of government to interact.” United States v. Hilario, 218

F.3d at 26. Thus, the mere fact that the District Court appointed Mr. Fouratt as United States

Attorney does not give rise to a separation-of-powers violation. Rather, the District Court’s

appointment power under § 546(d) “is not unconstitutional unless Congress has vested in the


                                                 -59-
       Case 1:07-cr-00388-JB          Document 219         Filed 04/03/08       Page 60 of 65




[judges] powers that are more appropriately performed by other Branches or that undermine the

integrity of the Judiciary.” United States v. Mistretta, 488 U.S. at 385.

               1.      There is No Unconstitutional Accumulation of Power Within the Judicial
                       Branch.

       While Moreau urges the Court to declare § 546(d) unconstitutional, he does not explain why

other interbranch appointments are constitutional and this one is not. Because the language of

Article II, Section 2, Clause 2 of the United States Constitution gives Congress considerable

discretion over the procedure to be used for the appointment of inferior officers, Congress’ limited

delegation of interbranch appointment power of United States Attorneys is entitled to substantial

deference. See Ex parte Siebold, 100 U.S. at 397-98 (“[A]s the Constitution stands, the selection

of the appointing power, as between the functionaries named, is a matter resting in the discretion

of Congress”). Moreau’s arguments have no discernable limits that would allow any interbranch

appointments, which the Appointments Cause appears to contemplate.

       While it may appear obvious, it deserves emphasis that Mr. Fouratt is part of the Executive

Branch and is not part of the Judicial Branch. While there is no question that a majority of the

Article III judges, who constitute the United States District Court for the District of New Mexico,

have appointed Mr. Fouratt to his position, and while there can also be no question that Mr. Fouratt

is now exercising the fundamental power of the Executive to prosecute alleged violations of federal

law, he is not part of the judiciary, nor has he ever been. At all times, Mr. Fouratt has been a

member of the Executive Branch, and he remains so.

       It is probably true that Congress cannot delegate the power to prosecute, and ultimately the

responsibility and accountability to ensure that the Nation’s laws are faithfully executed, to a federal

court. But the judiciary’s power to appoint United States Attorneys, in limited circumstances, is far


                                                 -60-
       Case 1:07-cr-00388-JB         Document 219         Filed 04/03/08      Page 61 of 65




from that delegation. The independence of a judicially appointed United States Attorney from the

district court is not merely customary and is protected by a series of statutes preserving executive

power. While § 546(d) gives the district court a limited power of appointment, it does not grant the

district court any authority to supervise or to remove a judicially appointed United States Attorney.

Section 546(d) does not give the district court any power to influence how the appointee will enforce

the laws.

       Moreau concludes that Mr. Fouratt is ultimately accountable to the judiciary and not to the

President. The Court disagrees. Section 546(d) is a single thread in a statutory fabric that otherwise

gives the Executive Branch the resources to prosecute offenses against the laws of the United States.

The fabric as a whole places judicially appointed United States Attorneys in the Executive Branch.

For example, after the judicial appointment of a United States Attorney, the President retains the

power to override the district court’s appointment and remove the appointee. See 28 U.S.C. §

541(c). The President further retains the power to nominate a United States Attorney whose

confirmation by the Senate automatically will oust the judicially appointed appointee. See 28 U.S.C.

§ 546(c)(1). Moreover, the Attorney General has the power to divest the judicially appointed United

States Attorney of authority to act in any given case. See 28 U.S.C. § 518.

       The statutory framework for the relationship among the United States Attorneys, the

Attorney General, and the President thus ensures that a judicially appointed United States Attorney

remains under the supervision and control of the Executive Branch. Because judicially appointed

United States Attorneys remain under the Executive Branch’s supervision and control, Congress’

decision to grant a limited power of appointment of United States Attorneys to the district courts

does not result in an unconstitutional accretion of power in the Judicial Branch. Section 546(d)

accordingly comports with the first part of the bifurcated inquiry that the Supreme Court suggested

                                                -61-
       Case 1:07-cr-00388-JB         Document 219        Filed 04/03/08      Page 62 of 65




in Mistretta v. United States and that was made clearer in United States v. Hilario.

               2.      The Lack of Impediment to the Proper Functioning of the Judicial
                       Branch.

       The answer to the second prong of the test, the Court believes, partly lies in how limited and

unusual the opportunity for the judiciary to appoint is. An interim United States Attorney appointed

by the Attorney General may serve no longer than 120 days. See 28 U.S.C. §§ 546(a) and (c)(2).

The district court’s limited power of appointment takes effect only upon the expiration of this 120-

day period. See 28 U.S.C. § 546(d). The opportunity for the judiciary to make appointments will

be rare and, because of their infrequency, do not seriously undermine the integrity of the judiciary

in the minds of most of the public and of the participants in court proceedings.

     While the Court shares some concern that Congress’ invitation to appoint United States

Attorneys draws the Court into arguably unnecessary involvement in one of the parties routinely

before it, the Court does not believe that Congress’ decision so undermines the Court’s integrity or

functioning that the Court should set Congress’ judgment aside. While the Court would prefer that

it not be involved in an Executive Branch’s internal personnel decision that is normally a political

one, the Court cannot say that Congress’ decision to ask the Court to use its discretion in limited

situations where the position remains unfilled by the political branches so undermines the integrity

of the judicial branch that the Court should declare Congress’ considered judgment unconstitutional.

       Moreau contends that the “choice of the United States Attorney is inherently a political and

executive determination.” Motion at 14. Moreau argues that “[a] court may be inclined to select

a United States Attorney who shares the court’s ideological or prosecutorial philosophy,” and argues

“the court may recommend a prosecutor who the court perceives is apt to settle cases or enter into

plea bargains, lighten the court’s caseload and preserve judicial resources.” Id. There is no dispute


                                                -62-
       Case 1:07-cr-00388-JB          Document 219        Filed 04/03/08       Page 63 of 65




that these are Executive Branch policy choices. While a designee of the judiciary will make the

decision, the decision remains an Executive Branch decision. The Court assumes that Mr. Fouratt

will make that decision in consultation, if appropriate, with officials in Washington, and the Court

will have to live with those prosecutorial decisions. The Court’s dissatisfaction, if any, with those

policy decisions must be expressed, on the public record, in its decisions in particular cases, and not

with any attempt to exercise any other personnel control over Mr. Fouratt.

       Because the judicial appointment of United States Attorneys results neither in an

unconstitutional accumulation of power in the Judicial Branch, nor imposition of the proper

functioning of that branch, § 546(d) is consistent with the separation-of-powers doctrine. While

Moreau raises a number of issues that challenge the wisdom of the delegation in § 546(d), none of

the problems that Moreau perceives rise to constitutional dimensions. Accordingly, the Court will

deny Moreau’s motion.

V.     MOREAU’S “AS APPLIED” ARGUMENT ALSO FAILS.

       Moreau asserts that § 546(d) is facially unconstitutional, see Motion, and unconstitutional

as applied in his case, see Tr. at 11:14-17 (Court & Winterbottom). By way of his as-applied

challenge, Moreau contends that Mr. Fouratt has made decisions that have impacted the prosecution

of his case. See Tr. at 10:23-25 (Winterbottom); id. at 11:9-10 (Winterbottom)(noting that, since

Mr. Fouratt has been appointed, a plea has been taken off of the table by the United States, the

witness list has changed, and additional counsel has been assigned to prosecute his case and arguing

that Mr. Fouratt has decided to “at least double his office’s resources in [Moreau’s] prosecution”).

Moreau’s as-applied argument fails as a matter of law, however, because Mr. Fouratt is accountable

to the Executive Branch, not to the Court.

       Section 546(d) confers no authority upon the Court to supervise Mr. Fouratt, to influence his

                                                 -63-
       Case 1:07-cr-00388-JB         Document 219        Filed 04/03/08      Page 64 of 65




enforcement of the laws of the United States, or to remove him. These powers remain with the

Executive Branch. The President retains the power to remove Mr. Fouratt. See 28 U.S.C. § 541(c).

The President further retains the power to nominate a United States Attorney whose confirmation

by the Senate will automatically oust Mr. Fouratt. See 28 U.S.C. § 546(c)(1). Moreover, the

Attorney General has the power to divest Mr. Fouratt of authority to act in any given case. See 28

U.S.C. § 518. Mr. Fouratt is also subject to an extensive framework of Department of Justice

controls.

       The Court appointed Mr. Fouratt, but he is not, as Moreau contends, “in essence . . .

accountable to the Article III judges” who appointed him. Motion at 1. The Court is, by contrast,

much more robustly engaged in the ongoing supervision of the Federal Public Defender and of

private attorneys appointed to represent indigent defendants under the Criminal Justice Act, without

damage to the Court’s independence or to the public’s perception of the administration of justice.

The authority of the Court in this matter is limited to the appointment power Congress has given it

under 28 U.S.C. § 546(d), which the Court exhausted upon its appointment of Mr. Fouratt.

       Moreau’s strongest argument is that the Court could influence his enforcement of federal law

by appointing him. While the Court shares Moreau’s concern that the process of judicial

appointment could influence the United States Attorney’s policy decisions, Moreau produces no

evidence how, if at all, that occurred in Mr. Fouratt’s appointment. Moreover, whatever the

judiciary’s thoughts about policy decisions, once Mr. Fouratt became the United States Attorney,

what the President and the Attorney General think about enforcement is probably much more

important to him than what the individual judges of the Court think.

       In conclusion, at this stage of proceedings, the appointment of Mr. Fouratt is largely in the

past both for the Court and for Mr. Fouratt and his office. It is unlikely that the appointment will

                                               -64-
      Case 1:07-cr-00388-JB             Document 219     Filed 04/03/08     Page 65 of 65




have much, if any, influence on how the Assistant United States Attorneys will prosecute this case

against Moreau. Accordingly, the Court will deny Moreau’s “as applied” challenge to the

constitutionality of § 546(d), and will not dismiss the indictment, with or without prejudice.

          IT IS ORDERED that the Defendant’s Motion to Dismiss the Indictment Without Prejudice

on the Basis That the Current United States Attorney has Been Unconstitutionally Appointed is

denied.


                                                       _______________________________
                                                       UNITED STATES DISTRICT JUDGE



Counsel:

Gregory J. Fouratt
  United States Attorney
Damon P. Martinez
Fred J. Federici, III
  Assistant United States Attorneys
Albuquerque, New Mexico

          Attorneys for the Plaintiff

Richard Winterbottom
 Federal Public Defender
Albuquerque, New Mexico

          Attorney for the Defendant




                                               -65-
